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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WILLIAM MANNO, On Behalf Of Himself
And All Others Similarly Situated, And
Derivatively On Behalf Of MAXAM                    Civ. No. 1:1 0-cv-09260-LAP
ABSOLUTE RETURN FUND, L.P.,

                             Plaintiff,

               V.
                                                   JURY TRIAL DEMANDED
MAXAM CAPITAL GP, LLC; MAXAM
CAPITAL MANAGEMENT LLC;
MAXAM CAPITAL MANAGEMENT
LIMITED; and SANDRA L. MANZKE,

                             Defendants,

and MAXAM ABSOLUTE RETURN
FUND, L.P.;

                      Nominal Defendant.


             AMENDED CLASS ACTION AND DERIVATIVE COMPLAINT

       Plaintiff William Manno, on behalf of himself and a class of all persons, other than the

Maxam Defendants (defined below), who invested in the Maxam Absolute Return Fund, L.P.

(the “Maxam Fund” or the “Fund”) between May 30, 2006 through and including December 11,

2008 (the “Class Period”), and, derivatively, on behalf of the Maxam Fund, alleges upon

personal knowledge as to himself and his own acts, and upon information and belief, based, inter

alia, on the investigation made by and through his attorneys, which investigation, included,

among other things: (1) a review of account statements, offering memoranda, communications,

and other documents created by or relating to the Maxam Fund; (2) a review of complaints filed

by: (i) the United States Government; (ii) the Securities and Exchange Commission (“SEC”),

including in SEC v. Bernard L. Madoff 08 Civ. 10791 (S.D.N.Y. Dec. 11, 2008) and SEC v.
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David G. Friehling, 09 Civ. 2467 (S.D.N.Y. Mar. 19, 2009); (iii) other regulators; (iv) the

various complaints filed by Irving H. Picard (the “Trustee”), the Trustee for the liquidation for

Bernard L. Madoff Investment Securities LLC (“BLMIS”), including his December 8, 2010

complaint against the Maxam Defendants and others in Picard v. Maxam Absolute Return Fund,

L.P. et a!., No. 10-05342-bri (Bankr. S.D.N.Y.) (“Trustee’s Action”); and (v) the complaint filed

by the Retirement Program for Employees of the Town of Fairfield, Retirement Program for

Police Officers and Firemen of the Town of Fairfield, and the Town of Fairfield in Retirement

Program for Employees of the Town of Fairfield, et al. v. Bernard L. Madoff et al., FBT CV

095023735 (Conn. Sup. Ct.) (“Fairfield Action”); and (3) a review of other publicly-available

reports and interviews published in the financial press and information obtained by Plaintiff as

follows:

                                   SUMMARY OF ACTION

        1.      Plaintiff William Manno is a purchaser and holder of limited partner interests in

the MAXAM Absolute Return Fund, L.P., who witnessed his entire investment disappear less

than two years after his first investment, when, on December 10, 2008, Bernard L. Madoff

(“Madoff’) confessed to running a Ponzi scheme of unprecedented proportions.

       2.       As is now well known, on December 11, 2008, Madoff was arrested by federal

authorities and both he and his investment firm, Bernard L. Madoff Investment Securities, LLC

(“BLMIS”), were charged with securities fraud and other federal offenses by the SEC.          In

addition, the United States Attorney’s Office for the Southern District of New York charged

Madoff with securities fraud and other felony counts. On March 12, 2009, Madoff pleaded

guilty to all of the 11 charges leveled against him and admitted that he had not made trades for




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his clients since at least the early 1 990s, despite telling investors that he was investing their funds

using a “split-strike conversion strategy.”

        3.      Unbeknownst to Plaintiff, the Maxam Fund was formed as a “feeder fund” to

Madoff by Defendant Sandra L. Manzke (“Manzke”), who invested millions of her clients’ funds

with him. Manzke’s personal history with Madoff dates back to the early 1990’s, when she, as

the Chief Executive Officer (“CEO”) of Tremont Capital Management, Inc. (“Tremont”), was

introduced to Madoff and began to invest client money with him through the Tremont funds,

which became some of the biggest feeder funds to Madoff. After leaving Tremont, Manzke set

out to form her own feeder fund, the Maxam Fund, and lobbied Madoff, who was no longer

accepting new customers, until she obtained an account for the Fund. In exchange for being

granted an account, Manzke agreed to comply with all of Madoff’s conditions, including not

identifying him in the Fund’s offering materials, and even allowed him to review and comment

on the offering materials prior to their distribution to potential investors.

        4.      Manzke and the other Maxam Defendants (defined below) then facilitated

Madoff’s fraud for years and perpetrated their own fraud on Plaintiff and the Class (defined

below) by making materially false representations and omitting to disclose material information


   The “split-strike conversion strategy” allegedly involved: (i) the purchase of equity shares in select
companies that were included in the blue-chip Standard & Poor’s 100 Index (“S&P Index”); (ii) the
simultaneous sale of “call” options, which give the investor the right to buy a stock at fixed prices; and
(iii) the purchase of “put” options, which allows the investor to sell a stock at fixed prices. Over time,
Madoff claimed that he was using a larger “basket” of equity shares selected from the S&P Index,
combined with put and call options on the S&P Index itself, rather than options on individual equity
shares. Madoff claimed to execute this “split strike conversion” strategy six to eight times per year, but,
at some point, he purportedly began to exit the market at the end of every quarter and to put all the funds
in U.S. Treasury securities. In reality, however, Madoff operated a class Ponzi scheme, the split-strike
conversion strategy was never implemented and Madoff never traded any stocks or options for any of the
customers whose money he purported to manage.




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they had in their possession.     The Maxam Defendants made materially false and misleading

statements and concealed material facts in Maxam’ s private placement memoranda (“PPM”), and

elsewhere, which prospective investors relied upon in deciding to invest in the Maxam Fund.

The PPMs failed to disclose to potential investors that the Maxam Fund was created for the

express purpose of investing the Fund’s assets with Madoff that 100% of the Fund’s assets were

handed over to Madoff, who was the sole investment manager, broker-dealer, and custodian of

the assets, without any investigation and oversight, without verifying Madoffs transactions or

determining whether he was carrying out the Fund’s investment strategy, and without ensuring

the safety of the Fund’s assets. The Maxam Defendants also failed to disclose that they had not

and would not conduct promised due diligence on Madoff, the Fund’s unidentified “broker

dealer,” and affirmatively misrepresented the due diligence they did and would conduct. They

knew but failed to disclose that Madoff’s operation was shrouded in secrecy and that his trading

strategy was a veritable “black box” such that any due diligence and independent verification of

his trading was entirely impossible.

       5.        Moreover, the Maxam Defendants, as experienced and eminently qualified

investment professionals, and as a result of Manzke’s long-standing history with Madoff, had

actual knowledge of numerous indicia of fraud that they had a duty to investigate and disclose to

their investors. The Maxam Defendants would have understood the following known warning

signs to be contrary to sound investment management and, in certain cases, contrary to Madoff’s

own stated investment strategy:

             •   Madoff’s operations were entirely opaque and the top positions in BLMJS were

                 filled by Madoff family members;




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 •   Madoff insisted on extreme secrecy and refused to have his name disclosed in the

     Maxam Fund’s offering documents;

 •   BLMIS acted as broker dealer, investment advisor and custodian, when these

     three roles are generally separated in order to safeguard assets;

 •   Madoff operated his investment advisory business as part of BLMIS instead of as

     a standalone hedge fund;

 •   Contrary to industry practice, Madoff did not charge standard management and

     performance fees for the remarkable results purportedly generated by his trading

     strategy, and instead charged commissions on the alleged trading, depriving

     himself of hundreds of millions in readily collectible fees;

 •   Madoff reported consistent results regardless of market fluctuations even though

     he claimed to use a market-based trading strategy;

 •   Madoff reported implausible equities and options trading volumes;

 •   Madoff’s consistent double-digit returns and his investment strategy could not be

     replicated by rival fund managers and other financial professionals;

 •   Madoff traded up to $30 billion in and out of the equities market without ever

     disrupting market prices;

 •   Despite being a pioneer of paperless trading, BLMIS did not allow customers

     real-time electronic access to their accounts, and instead sent them paper trade

     confirmations days after trades were purportedly made;

 •   Madoff refused to disclose the identities of his counterparties on his purported

     options trades; and




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              •   BLMIS, which managed tens of billions of dollars as part of its domestic and

                  international operations, was audited by an unknown three-person accounting firm

                  in a strip mall.

        6.        Defendant Manzke admitted on national television, in a May 12, 2009 “Frontline”

interview on the PBS channel (the “Frontline Interview”), that she was “bothered” by certain

things about Madoff, including that his massive operation was audited by a tiny accounting firm.

She referred to Madoff’s strategy as a “black box” and “that he wasn’t going to disclose what

was in it.” Manzke also admitted that, as a condition of obtaining an account with Madoff, she

agreed not to use his name in the Maxam Fund’s offering documents. Elsewhere, such as in her

July 7, 2009 Rule 2004 deposition before the Madoff Trustee’s counsel, Manzke disclosed that

she did not use Madoff’s name in her funds’ offering materials, listed BLMIS as a broker-dealer

because Madoff was not a registered investment adviser, and agreed not to go “market[J like

crazy” so Madoff would not draw excess attention. Despite all these things that “bothered” her,

and the other warning signs that she and others at her organization knew, Manzke and the other

Maxam Defendants published PPMs with the material omissions and misrepresentations set forth

herein, and secretly invested millions of their clients’ funds with Madoff with no due diligence,

oversight or independent confirmation of his trading while collecting lucrative fees   —   more than

$5.8 million, over a two-year period, according to the Madoff Trustee   —   for management services

they did not perform.

       7.         As a result of the Maxam Defendants’ misconduct, 100% of the Maxam Fund’s

assets that the Maxam Defendants knowingly entrusted to Madoff without any oversight or due

diligence have been wiped out. According to unaudited financials for the period January 1, 2008

through December 11, 2008, the Fund lost $265,323,936 to Madoff. During the life of the Fund,




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the Maxam Defendants invested over $300 million of investor money into BLMIS, and

redeemed almost $100 million between 2007 and December 11, 2008. During the 90-day period

prior to December 11, 2008, Defendant Manzke withdrew $25 million from the Fund’s account

at BLMJS. These withdrawals are the subject of the Madoff Trustee’s Action against the Fund

and the Maxam Defendants, which action remains pending.             The complaint in the Trustee’s

Action includes allegations based on deposition testimony from Defendant Manzke and internal

Maxam documents, and is directly relevant to the allegations set forth herein and is discussed in

greater detail below.

        8.      Plaintiff now seeks to recover directly for damages caused by the Maxam

Defendants’: (1) violations of Section 10(b) of the Securities Exchange Act of 1934 (the

“Exchange Act”); (2) violations of Section 20(a) of the Exchange Act; (3) common law fraud;

(4) negligent misrepresentation; (5) breach of fiduciary duty; (6) gross negligence and

mismanagement; and (7) unjust enrichment.           Plaintiffs also seek to recover derivatively, on

behalf of the Maxam Fund, for damages caused by the Maxam Defendants’: (1) breach of

fiduciary duty; (2) gross negligence and mismanagement; and (3) unjust enrichment.

       9.       Plaintiff further seeks to impose a constructive trust over all funds that may be

paid by the Trustee to the Maxam Fund in connection with its claim under Securities Investor

Protection Act (“SIPA Claim”) as well as any assets still remaining in the Fund to prevent the

Maxam Defendants from using those funds to: (a) pay any portion of the $2.63 million the

Maxam Defendants agreed to pay to settle the Fairfield Action (the “Fairfield Settlement”),

pursuant to which Maxam Capital, Maxam GP, Maxam Capital Management Limited, Manzke,

Walker Manzke, and April Manzke seek to extinguish their own liability, (b) to indemnify any of

the Maxam Defendants in connection with the Fairfield Action or the Fairfield Settlement; (c) to




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pay for the Maxam Defendants’ attorneys’ fees, costs and other litigation expenses in the

Fairfield Action, the Trustee’s Action, this action or any other action in which one or more of the

Maxam Defendants is a party that arises from or relates to the investment of the Maxam Fund’s

assets with Madoff; and (d) pay management and/or administrative fees or any other

remuneration to the Maxam Defendants.                Plaintiff also seeks injunctive relief enjoining the

Maxam Defendants from utilizing any portion of the proceeds from the Maxam Fund’s SIPA

Claim or any assets left in the Maxam Fund to pay for any portion of the Fairfield Settlement,

indemnify themselves or to cover their attorneys’ fees, costs and other expenses of litigation, and

from collecting accrued fees or other remuneration from the Maxam Fund.

                                        JURISDICTION AND VENUE

        10.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C.   §    78j and 78t(a), and Rule lOb-5, 17 C.F.R.       § 240.lob-5, promulgated hereunder
by the SEC, 17 C.F.R.       §   240.1 Ob.5, as well as under the laws of the State of New York. This

Court has jurisdiction in this action pursuant to Section 27 of the Exchange Act, 15 U.S.C.              §
78aa and pursuant to the supplemental jurisdiction of this Court. This Court has jurisdiction over

the subject matter of this action pursuant to 28 U.S.C.           §   1331 and 1337, Section 22 of the

Securities Act, 15 U.S.C.       §   77u, and Section 27 of the Exchange Act, 15 U.S.C.   §   78aa.

        11.      Venue is proper in this judicial district pursuant to Section 22(a) of the Securities

Act, 15 U.S.C.    §     77v, Section 27 of the Exchange Act, 15 U.S.C.         §   78aa, and 28 U.S.C.   §
1391(b). Substantial acts in furtherance of the alleged fraud and/or its effects have occurred

within this District.

        12.      In connection with the acts alleged in this Complaint, the Maxam Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including, but




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not limited to, the mails, interstate telephone communications and the facilities of the national

securities markets.

                                               PARTIES

Plaintiff

        13.     Plaintiff William Manno, a resident of Florida, is a limited partner in the Maxam

Fund. Plaintiff invested approximately $200,000 on May 25, 2007, $200,000 on February 6,

2007, and $75,000 on August 29, 2008 in the Maxam Fund, all of which has been lost to

Madoff’s Ponzi scheme as a result of the Maxam Defendants’ violations of the law. Shortly after

Madoff’s arrest, on December 15, 2008, Plaintiff attempted to redeem the entire value of his

account (equal to $518,017.91 as of November 30, 2008), upon written request to the Maxam

Fund without success.

Nominal Defendant

        14.     Nominal Defendant MAXAM Absolute Return Fund, L.P., a limited partnership

that was formed under the laws of Delaware on May 30, 2006, is a feeder fund to Madoff, with

100% of its assets invested with Madoff. Its principal office is located at 16 Thorndal Circle,

Darien, Connecticut 06820. Limited partnership interests in the Maxam Fund were offered via

the Private Offering of Interests Confidential Private Placement Memorandum, dated July 1,

2006 (“Initial PPM”), as amended and restated on March 21, 2008 by the Maxam Private

Offering of Interests Amended And Restated Confidential Private Placement Memorandum

(“Amended PPM”) (collectively, referred to as the “PPMs”).             In the Amended PPM, dated

March 21, 2008, the minimum capital contribution was increased from $500,000 to $1,000,000,

unless the General Partner determined a lower amount was acceptable.           Prior to the public

exposure of Madoff’s fraud, the Net Asset Value (“NAy”) of the Maxam Fund (equal to its

assets, at fair value, less its liabilities) was approximately $280 million.


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The Maxam Defendants

        15.    Defendant Maxam Capital GP, LLC (“Maxam GP”) is a Delaware limited

liability company organized on May 30, 2006, and located at 16 Thorndal Circle, Darien,

Connecticut 06820. Maxam GP is the General Partner of the Maxam Fund and engaged Maxam

Capital as the Maxam Fund’s investment manager.            As the General Partner, Maxam GP

exercised ultimate authority over the Maxam Fund and was responsible for its day-to-day

operations and management.      Maxam GP had the right to delegate all or any portion of its

responsibilities to the Maxam Fund and, delegated its investment management responsibilities to

Maxam Capital.      These responsibilities included: (1) making all decisions related to the

investment of assets of the Maxam Fund; (2) managing all aspects of the investment of the

Maxam Fund’s assets including, without limitation, selecting Broker Dealers to which to allocate

the Maxam Fund’s assets, evaluating the broker dealers’ performance and making all decisions

with respect to allocating the Maxam Fund’s assets; and (3) taking all such other actions which

Maxam Capital considers necessary and advisable to carry out its investment management

duties. Maxam GP has a responsibility to the Maxam Fund and its investors to exercise good

faith and fair dealing in all matters affecting the Maxam Fund.

       16.     Defendant Maxam Capital Management LLC (“Maxam Capital”) is a Delaware

limited liability company located at 16 Thorndal Circle, Darien, Connecticut 06820. Maxam

Capital is an investment management firm formed in April 2005. Maxam Capital is the Maxam

Fund’s investment manager, and, according to the Amended PPM, also became its administrator

as of March 21, 2008. (Prior to March 21, 2008, the Fund’s administrator was Maxam Capital

Management Limited (“MCML”), a wholly-owned subsidiary of Maxam Capital.)              Maxam

Capital became registered with the SEC as an investment adviser in 2005 under the Investment




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Advisers Act of 1940. Upon information and belief, Maxam Capital had between six to ten

employees and provided investment advisory services to somewhere between 11 and 25 clients.

Its assets under management prior to the public discovery of the fraud totaled over $1 billion.

Upon information and belief, Maxam Capital collected in excess of $5.8 million in management

and administrative fees in connection with their direct and indirect investments through BLMIS.

Maxam Capital has a responsibility to the Maxam Fund and its investors to exercise good faith

and fair dealing in all matters affecting the Maxam Fund.

        17.    Defendant Sandra L. Manzke (“Manzke”) is a principal of Maxam GP, and

Chairman, CEO and founder of Maxam Capital. According to Maxam Capital’s Form ADV,

filed with the SEC on January 26, 2009, Manzke owns between 25% and 50% of Maxam

Capital, and principal of Maxam GP.       Upon information and belief, she controlled both the

operations and management of Maxam Capital. In addition, Manzke served on the Investment

Committee at Maxam Capital and is identified, in the Form ADV, Part II, which is part of the

PPM (“Form ADV”), as a principal decision maker with regard to the Fund along with Joseph

Soares and Suzanne Hammond, two of Defendants’ former colleagues from Tremont. From

2007 through the present, Maxam Capital paid Manzke $360,000, plus 30% profits in salary and

other forms of compensation.       Manzke was recognized as a “Legend in the Hedge Fund

Industry” by 100 Women in Hedge Funds in November 2002. As described below, in addition to

being an experienced and seasoned investment professional, Manzke also was a self-proclaimed

industry “watchdog,” policing managers whom she viewed as causing the general degradation of

ethics in the industry and calling for greater transparency reform in the hedge fund industry.

       18.     Defendants Manzke, Maxam Capital, and Maxam GP are sometimes collectively

referred to herein as the “Maxam Defendants.”




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         19.     Each of the Maxam Defendants is liable as a participant in a fraudulent scheme

and course of business that operated as a fraud or deceit on the Maxam Fund and/or its limited

partners by their actions.

                                  SUBSTANTIVE ALLEGATIONS

I.      THE MAXAM DEFENDANTS’ WRONGDOING

        A.       Sandra Manzke’s Relationship and History With Madoff

                 1.      Tremont and Madoff

        20.      Defendant Manzke is a well-regarded and sophisticated professional in the

investment management business with well over thirty years of experience. Manzke’s extensive

career began at Scudder, Stevens & Clark in 1969.              From 1974 to 1976, she worked as an

independent consultant at Bernstein Macauley where she was responsible for reviewing the

firm’s products, and then moved on to Rogers, Casey & Barksdale, Inc., where she served as a

principal from 1976 to 1984. In October 1984, Manzke founded Tremont
                                                             2 where she was the

firm’s CEO.

        21.     As described in the complaint in the Trustee’s Action (the “Trustee’s

Complaint”), Defendant Manzke’s long-standing history with Madoff dates back to her years at

Tremont, one of the earliest consulting and advisory firms to focus on hedge funds.                    The

Trustee’s Complaint alleges (upon information and belief) that Manzke first learned about

Madoff through a colleague at Tremont, Leon Meyers, who had his own personal account with


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  on December 7, 2010, the Trustee filed, under seal, a complaint in the United States Bankruptcy Court
for the Southern District of New York against investment funds, affiliates and executives, including
Defendant Manzke, associated with Tremont, the second-largest Madoff feeder fund. In addition to
seeking to recover fictitious profits, preferential payments and fraudulent transfers, the Trustee sought to
recover additional payments to prevent any unjust enrichment on the part of Defendant Manzke and
others, through fees and other payments received.




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BLMIS at the time. In the mid-i 990s, Manzke entered into a business arrangement with Madoff

and formed a limited partnership to act as a feeder fund to Madoff. From then until 2005, when

she left Tremont, Tremont collected hefty management and other fees for doing little more than

soliciting investors and transferring their assets to Madoff who had complete discretion to

manage the assets.

        22.    While at Tremont, no significant due diligence was performed on Madoff. As

detailed in the Trustee’s Complaint, prior to investing with BLMIS, Tremont reviewed Meyers’s

account statements to determine his rate of return and reviewed BLMIS trade confirmations to

obtain a sense of Madoff’s performance and strategy. Manzke herself also purportedly met with

Madoff in 1991 and viewed his business operations but could not recall any of the specific

details of that meeting other than discussing Madoffs market-making side of the business.

        23.    In fact, in press releases associated with the filing of the Trustee’s Action against

the Tremont defendants, the Trustee stated that: “Tremont blindly relied upon Madoff to drive

the funds’ returns and, more importantly, Tremont’s profits.   .   .   .   The returns provided by Madoff

helped Tremont grow into a large source of funds for BLMIS.” According to the press releases,

Defendant Manzke, and others, were repeatedly warned and were on notice, through information

in their own possession and publicly available, that the success of BLMIS could be the result of

fraud but Defendants ignored obvious warning signs of fraud to maximize their own profits and

self-interest. In addition, the press releases stated that Tremont, its related entities and feeder

funds did not conduct any reasonable or meaningful analysis regarding Madoffs performance,

nor did they acknowledge significant operational deficiencies in Madoffs organization, even

though BLMIS’s compensation and organizational structure deviated from well-established

industry practices.   The Trustee’s Complaint alleges that Suzanne Hammond, Manzke’s




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colleague at Tremont who became the managing director of the Maxam Fund, criticized Tremont

for not understanding Madoff’s strategy or how to determine Tremont’s dividends.

                2.      Formation of the Maxam Fund and Maxam Entities

        24.     In or about April 2005, Manzke left Tremont and founded Maxam Capital to

provide investment advisory services to individual clients. At that time, Manzke asked Madoff

for a new BLMIS account, but he informed her that the Investment Advisory business within

BLMIS was closed to new investors. After being denied an account, Manzke persisted and, on

her third try, Madoff agreed to allow her to open a BLMIS account, but only if she complied

with his conditions.

        25.     In 2006, Manzke formed the Maxam Fund for the sole purpose of creating a new

source of fees for Maxam Capital, which she partly owned, by attracting investors with the

impossibly steady and phantom returns purportedly generated by Madoff’s investment strategy.

The minimum subscription for investing in the Maxam Fund was initially $500,000, but was

increased to $1 million, as set forth in the Amended PPM. Manzke placed all of the assets of the

Maxam Fund with Madoff.

        26.    Once Manzke obtained an account with BLMIS, she willingly complied with all

of Madoff’s conditions and secrecy requirements including, inter alia: not disclosing his name in

the Fund’s PPMs or that he managed all of Maxam’s assets; to list BLMIS as a broker-dealer

because it was not a registered investment advisor; and not to go “market[J like crazy.” Manzke

even permitted Madoff to review and comment on the Maxam Fund’s offering documents before

they were distributed to potential investors.

               3.      The Structure of the Maxam Fund

       27.     The Maxam Fund is a Delaware limited partnership that does not directly invest

in securities listed on the national exchanges. Participation in the Maxam Fund was offered


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initially through the Initial PPM, dated July 1, 2006, which was subsequently amended and

restated by the Amended PPM on March 21, 2008.

        28.    According to the Fund’s Limited Partnership Agreement (“LPA”), the

“Partnership is organized for the purposes of generating capital appreciating by utilizing the

strategies discussed in the [Fund’s PPMI, and in particular by allocating the Partnership’s assets

to third party broker dealers (each, a “Broker Dealer”) who will invest such assets, and engage in

all activities and transactions as the General Partner may deem necessary or advisable.”

According to the Fund’s PPM, the Fund’s investment objective is “long term capital appreciation

with low volatility.”

       29.     The General Partner of the Maxam Fund is Maxam GP, which prepared the Initial

PPM and the Amended PPM. As described above, Maxam GP had the duty to oversee all of the

day-to-day operations of the Partnership, including providing the Limited Partners with annual

reports and additional information such as an income statement of the Partnership. Maxam GP

had the authority to delegate certain of its responsibilities, such as the responsibility to provide

investment advisory, management, administrative, and auditing services. Maxam GP engaged

Maxam Capital to be the investment manager of the Fund.

       30.     Maxam Capital was authorized, pursuant to the Investment Management

Agreement between Maxam Capital and Maxam GP, dated July 1, 2006, to manage the affairs of

the Maxam Fund. As detailed in the Madoff Trustee’s Complaint, Maxam Capital also executed

an Investment Advisory Agreement and an Investment Policy Statement, dated June 29, 2007

and July 1, 2007, respectively, setting forth its duties and obligations as adviser to the Maxam

Fund. Under the Advisory Agreement, Maxam Capital agreed to provide investment advisory

and supervisory services with respect to the planning, evaluating and monitoring of its clients’




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assets, consistent with the investment objectives of its clients. It further stated that it would

“recommend, in good faith and a best efforts basis,” managers that it believed would comply

with the investment guidelines. Maxam Capital further represented in its Advisory Agreement

that it would perform its duties and obligations “with the care, skill, prudence and diligence

under the circumstances then prevailing that a prudent person acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of a like character with like

aims,” and that Maxam Capital “has a fiduciary responsibility” to the Maxam Fund and its

limited partners.

        31.      According to the PPMs, Maxam Capital, as the investment manager of the

Maxam Fund, is paid a monthly management fee in arrears equal to 0.083% of the NAV of each

Limited Partner’s Capital Account. The management fee is assessed on a pro rata basis for a

Limited Partner’s actual period of ownership during a calendar month.         The annual rate is

approximately 1%. From the start of the Maxam Fund to the ultimate collapse of Madoff’s

scheme, Maxam Capital collected in excess of $5.8 million in management and administrative

fees.

        32.      The administrator of the Maxam Fund, initially MCML, and subsequently Maxam

Capital, executed an Administrative Services Agreement with Maxam GP under which it had

various responsibilities, including: “calculating valuations using independent pricing sources,”

“maintaining books and records,” “calculating all Partnership fees,” “preparing periodic financial

statements,” “calculating and disseminating the NAV of the Partnership,” and performing other

services.

        33.     Further, the administrator of the Maxam Fund, MCML (and subsequently,

Maxam Capital), is paid an annual administration fee equal to 0.20% of the NAV of each




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Limited Partner’s Capital Account. The administration fee is assessed on a pro rata basis for a

Limited Partner’s actual period of ownership during a calendar month.

        34.      Pursuant to the LPA, a capital account was established for each Limited Partner

and reflected each Limited Partner’s interest in the Maxam Fund. The opening balance of the

capital account is the Limited Partner’s initial contribution, but can be further adjusted in

accordance with the principles set forth in the controlling partnership agreement. The aggregate

amount of any and all management fees payable is charged to that Limited Partner’s capital

account, and any net capital appreciation or depreciation is allocated to all Limited Partners in

proportion to each Limited Partner’s ownership percentage.

       35.       According to the PPMs, Limited Partners are permitted to make partial or total

redemptions, upon 35 days written notice to the General Partner, as of the last business day of

each calendar month or at such other times as the General Partner determined in its absolute

discretion. The PPMs further provided that “Limited Partners will have no right or power to take

part in the management of the Partnership, nor in any decision with regard to the allocation of

management of the Partnership’s assets.” Thus, the Limited Partners were dependent on the

Maxam GP, “who has complete authority and discretion in the management and control of the

business of the Partnership,” to make sound investment decisions with respect to the Maxam

Fund’s assets.

                 4.    The Life of the Fund and its Collapse

       36.       Throughout the life of the Fund, limited partners received monthly Investor

Statements showing assets in their capital accounts and financial statements for the Fund

showing assets in the Fund, and Maxam Capital collected in excess of $5.8 million in

management and administrative fees despite the fact that all of the Fund’s assets were invested

with Madoff who was operating a Ponzi scheme.


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        37.     Shortly before Madoff’s December 2008 confession, Defendant Manzke asserted

in a letter to hedge fund investors, which was quoted in a November 21, 2008 New York Post

article, that she was “appalled and disgusted by the activities of a number of hedge fund

managers,” especially those “attempting to get their money out ahead of investors.” She called

for greater transparency in the hedge fund industry and called investors to join with her to reform

the industry.

        38.     The letter was a preemptive strike that Manzke could use in defending her actions

to investors in the Maxam Fund, who she knew would soon learn of the true value of their

investments in the Maxam Fund     —   zero.

        39.     During this same period, Manzke, however, was responsible for the Maxam

Fund’s successful withdrawal of two $5 million transfers and one $15 million transfer within the

90-day period prior to December 11, 2008. In fact, within the two years prior to December 11,

2008, Manzke withdrew approximately $97.8 million in redemptions from Madoff. The $25

million, which was withdrawn within 90 days prior to Madoff’s arrest, was transferred to Maxam

Absolute Return Fund Ltd. (“Maxam Limited”), an offshore fund that was an investor in the

Maxam Fund, to distribute to its foreign investors.

       40.      Manzke called for heightened protection of investors in the industry against

managers whose main concern was their own personal gain. Yet, at the same time, Manzke’s

very own actions and abandonment of her duties assisted, enabled and helped to sustain for

almost 15 years, the single largest investor fraud in history.

       41.      On December 12, 2008, after Madoff’s fraud was publicly exposed by virtue of

his arrest, Manzke, on behalf of Maxam Capital, wrote to the Fund’s limited partners, including

Plaintiff, informing them that she was “shocked to learn that Madoff” may have been responsible




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for “the largest Ponzi scheme in history by reporting fictional investment profits and using

current investors’ money to pay departing investors.” Moreover, the letter stated that they are

“monitoring these {courtj proceedings and are working to sort out the complicated legal issues

arising from this unprecedented situation and determine what actions are appropriate under these

circumstances.”

        42.    On or about December 12, 2008, the Maxam Fund effectively ceased operating as

an investment fund, and its operations subsequent to that date have been directed primarily

towards winding up operations.

       43.     According to the Trustee’s Complaint, on December 16, 2008, four days after

Madoff’s arrest, Manzke transferred a one-half ownership interest in her home located in Pound

Ridge, New York, to her son Walker and his wife April. The remaining one-half ownership

interest was transferred to Walker and April, through the Sandra L. Manzke Revocable Trust

(“Manzke Trust”), for which Manzke is the sole trustee, leaving Walker and April with full

ownership of the $1.8 million property.

       44.     In order to further divert attention from the Maxam Defendants’ own wrongdoing,

on January 30, 2009, Manzke, on behalf of the Maxam Fund, sued the Maxam Fund’s auditors,

McGladrey & Pullen LLP and Goldstein Golub Kessler, purportedly to protect the Maxam

Fund’s interests, and to pursue claims on behalf of the Maxam Fund, for ignoring the very red

flags that the Maxam Defendants itself knowingly ignored (the “Maxam Auditor Action”).

       45.     In the months following Madoff’s confession, the Maxam Defendants sent regular

update letters to their investors, assuring them that the Maxam’ s primary goal was to ensure that

whatever steps would be taken would be in the best interests of the Maxam Fund’s investors. On

January 6, 2009, the Maxam Defendants wrote to their investors notifiing them that they




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engaged the New York-based litigation firm of Kobre & Kim LLP (“Kobre & Kim”) “to pursue

all available options for recovery.” The Maxam Defendants further stated that “Kobre & Kim

LLP is investigating and developing potential lawsuits against third-parties in an effort to return

value to our investors.”

        46.    However, upon information and belief, the law firm hired by Manzke, Kobre &

Kim, has not pursued “all available options for recovery” for the benefit of the limited partners

of the Fund. Rather, Kobre & Kim has served to defend Manzke, the Maxam Defendants, and

Manzke’s family members in the various pending lawsuits filed against them including, inter

alia, the present action, the Trustee’s Action, the Fairfield Action, and others.

       47.     Moreover, the PPMs and the Investment Management Agreement contain

indemnification provisions, which provide for the indemnification of the Maxam Defendants

against liabilities to third parties, including reasonable attorneys’ fees, cost and expenses

incurred in connection with the defense of actions or proceedings. Upon information and belief,

rather than seeking to maximize and recover the Maxam Fund’s assets for the benefit of its

investors, the Maxam Defendants are dissipating the Fund’s assets to defend their own

wrongdoing. As set forth below, the Maxam Defendants and related entities, and Manzke’s son

and daughter-in-law, as part of the Fairfield Settlement, have agreed to pay plaintiffs in the

Fairfield Action up to $2.63 million plus interest out of any monies received by the Fund on its

SIPA Claim.

       B.      The Maxam Defendants’ Misrepresentations and Omissions

       48.     Manzke created the Maxam Fund for the sole (albeit undisclosed) purpose of

investing the Fund’s assets with Madoff and thereby profiting from Madoff’s impossibly steady

double-digit returns. With that objective in mind, the Maxam Defendants solicited investors and




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sold limited partnership interests in the Maxam Fund through the use of materially false

statements and omissions of material fact in the Initial PPM and the Amended PPM.

               1.      The Maxam Defendants Knew But Failed To
                       Disclose Madoff Would Be The Sole Manager Of The Fund’s Assets

        49.    Manzke lived up to her end of the bargain and did not use Madoff’s name in the

Maxam PPMs and other offering documents. The Maxam PPMs state that “[c}urrently there is

only one Broker Dealer trading in the Partnership’s assets on a discretionary basis,” but do not

disclose that the “Broker Dealer” is BLMIS. Nor do the Maxam PPMs disclose that the “Broker

Dealer” actually was acting as an investment adviser and that Manzke, as a condition of

obtaining an account with Madoff, agreed to identify BLMIS as a broker-dealer because it was

not registered as an investment advisor. The PPMs omit the material fact that Madoff was not

just serving the role of a mere “Broker Dealer” but he was, in fact, the sole investment manager

of 100% of the Maxam Fund’s assets.

       50.     Moreover, the Maxam Defendants failed to disclose the material fact that they

invested all of the Maxam Fund’s assets with Madoff without any oversight, due diligence, or

independent verification of his trading or strategy.     The Maxam Fund’s Amended PPM

misleadingly states that Maxam GP delegated its investment management responsibilities to

Maxam Capital, which was responsible for “manag[ingj all aspects of the Partnership’s

investment operations in accordance with all investment parameters adopted by the Partnership”

and “for allocating assets among the various Broker Dealers and monitoring their performance.”

The PPM further provides that Maxam Capital would charge and receive monthly management

fees for its purported investment management services to the Partnership.            The same

representations appear in the Initial PPM.




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        51.     This representation is utterly false because it created the false impression that

Maxam Capital was actively managing the investments of the Maxam Fund, when, instead, all

that it (and Manzke) did was hand over the Partnership’s assets to Madoff, without determining

whether he was complying with the Fund’s “investment parameters” and without monitoring his

performance.

        52.     Further, the Maxam Defendants knew, but intentionally did not disclose the things

that “bothered” Manzke about Madoff, and the warning signs that, as experienced investment

professionals, the Maxam Defendants knew were indicia of fraud. Among other things, the

PPMs did not disclose Madoff’s insistence on extreme secrecy, that the lack of transparency

meant that Maxam Capital did not and would not conduct due diligence on Madoff that Manzke

herself, since her days at Tremont, had repeatedly been warned and was on notice that the

reported success of Madoff could be the result of fraud, that she was bothered by the “tiny” size

of the accounting firm Madoff used, and that she did not understand his proprietary “black box”

trading strategy. Further, Manzke and the Maxam Defendants knew that BLMIS functioned as

investment advisor, executing broker, and custodian of securities but did not disclose this fact in

the PPMs or the dangers of such an arrangement. As experienced investment professionals, the

Maxam Defendants knew but failed to explain to their investors that the separation of these three

roles serves as a key risk control measure in safeguarding customer assets.

                2.     The Maxam Offering Documents Contained False
                       and Misleading Statements About the Maxam Fund’s
                       Investment Objective and Broker Dealer Seiection Process

        53.    The Maxam PPMs state that the Maxam Fund’s investment objective is to seek

“long term capital appreciation with low volatility. The Investment Manager attempts to achieve

the objective by allocating the Partnership’s assets to Broker Dealers who will invest such assets

in equity securities, options strategies and other equity related derivatives.”


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        54.     These statements are materially false and misleading because they conveyed the

false impression that Maxam GP and Maxam Capital were investing the Maxam Fund’s assets in

a manner to seek “long term capital appreciation with low volatility,” when they were really

entrusting all of the Partnership’s assets to one unregistered investment manager        —   Madoff   —




whose investment strategy Manzke admitted was a “black box, that he used, that he wasn’t going

to disclose what was in it.”      Because the Maxam defendants did not know or understand

Madoff’s trading strategy, they could not have known whether Madoff was pursuing the Fund’s

investment objective.

       55.      The Maxam PPMs further gave the false impression that the Maxam Defendants

were utilizing a selective process by which they selected Broker Dealers to trade the Fund’s

assets. According to the Amended PPM, in selecting its Broker Dealers, Maxam Capital: “may

also consider such factors as price, the ability of the Broker Dealers to effect transactions, as well

as the Broker Dealer’s facilities, reliability and financial responsibility.     Accordingly, if the

Investment Manager determines in good faith that the amount of commissions charged by a

Broker Dealer is reasonable in relation to the value of the foregoing, the Partnership may pay

commissions to such Broker Dealer in an amount greater than the amount another broker might

charge.”

       56.      This statement was false and misleading because the Maxam Defendants

considered none of these factors in selecting Madoff to manage all of the Fund’s assets. Instead,

after obtaining a coveted account with BLMIS, Maxam Capital, through Manzke, simply handed

over the Fund’s assets to Madoff, unconditionally, as she had done since the mid-1990’s when

she was at Tremont, without any due diligence and oversight.




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        57.    Further, Maxam Capital could not have considered price and the ability of the

Broker Dealer to effect transactions because Madoff was not effecting transactions, and Maxam

Capital did nothing to verify there were transactions. Maxam Capital could not have considered

Madoff’s facilities, reliability and financial responsibility, because, as Manzke knew, Madoff

would not allow due diligence and his operation was entirely opaque. Instead, Manzke complied

with Madoff’s “Don’t Ask, Don’t Tell” policy, and blindly turned over Maxam’s assets to

Madoff despite having actual knowledge of the warning signs of Madoff’s potential fraud.

               3.     The Maxam Defendants Misrepresented That The Maxam Fund’s
                      Investments Would be Diversified When They Knew They Were Not

       58.     The Maxam Defendants also knowingly and willfully misrepresented the

diversification of the Maxam Fund, which they stated in the PPMs would be restricted, so that

the Fund “will invest no more than 20% of the value of its total assets (at the time of investment)

in the securities of any one issuer.” In reality, the Maxam Defendants simply handed over 100%

of the Maxam Fund’s assets to Madoff without any oversight or monitoring.

       59.     Because the Maxam Defendants failed to conduct oversight or independently

verify Madoff’s transactions, they did not know whether Madoff was complying with the Maxam

Fund’s 20% diversification requirement. In fact, because Madoff claimed to be placing 100% of

the Fund’s assets into Treasuries at the end of each quarter, the Maxam Defendants could not

know whether he was complying with the Fund’s diversification requirements.

       60.    The only reason for the Maxam Defendants to make this statement was to

convince prospective investors that their assets would not be over-concentrated in one

investment so as to avoid the risk of losses if that particular investment lost value. The Maxam

Defendants knew that they were placing 100% of the Maxam Fund’s assets with Madoff who

made all of the investment decisions.       These misrepresentations and omissions were not



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accidental, but were intended to make the Maxam Fund appear to be a secure and diversified

investment vehicle when the Maxam Defendants knew it was not.

       61.     Similarly, in the LPA, the Maxam Defendants represented that the purposes of the

Fund include, inter alia, “to invest and reinvest the Partnership’s assets from time to time, within

a broad range of financial instruments, securities, and transactions” and “to utilize a variety of

investment techniques including, but not limited to, short selling, purchase and sale writing of

options on securities.” These statements, of course, were false and misleading because the

Maxam Defendants selected a single investment advisor with a single investment strategy, which

Manzke called a “black box,” and conducted no independent verification of his trading. They

had no way of knowing whether Madoff was, in fact, investing the Fund’s assets in “a broad

range of financial instruments, securities, and transactions.”

               4.      The Maxam PPMs Contained False and Misleading
                       Statements About the Maxam Defendants’ Purported Due Diligence

       62.     In order to lure investors, the Maxam Defendants consistently       —   and falsely   —




assured potential investors that they conducted a thorough and informed investigation of the

investment managers they employed. These representations were false and misleading. The

Maxam Defendants clearly failed to conduct adequate, if any, due diligence on Madoff because,

among other things, Manzke did not want to endanger the lucrative income stream from

investing the Maxam Fund’s assets with Madoff.

       63.     In her “Frontline” Interview, Manzke admitted that even though she was a

champion of openness and transparency in the hedge fund industry, she applied different

standards when it came to Madoff:

               MARTIN SMITH: [voice-over} Manzke says everyone operated by
               Madoff’ s
               secrecy rules.



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                [on camera] Did Madoff say to you, ‘Don’t put me in your prospectus?’

                SANDRA MANZKE: Yes. He did.

                MARTIN SMITH: Do you think that’s right? Do you think that’s
                appropriate?

                SANDRA MANZKE: I don’t know. Every one of my clients knew that
                this was a Madoff feeder fund, and-

                MARTIN SMITH: So why not put it in a prospectus, then?

                SANDRA MANZKE: That was one of, always, Bernie’s conditions of
                getting an account.

                MARTIN SMITH: But you’ve publicly called for transparency. That’s
                transparency.

                SANDRA MANZKE: Yes. But many funds and investors were very
                secretive. They didn’t mention that they had money with Madoff. It was
                something you didn’t talk about.

          64.   Thus, Manzke violated her own rules of transparency to accommodate Madoffs

conditions to investing. As alleged by the Trustee, Maxam Capital, however, told investors in its

Due Diligence Questionnaire that it “[did] not invest in secretive managers or in managers whose

strategy we do not understand.   .   .   .   We are extremely transparent with clients in regard to the in-

house qualitative and quantitative information generated by our analysis.” This was patently

untrue.

          65.   Similarly, Maxam’s Form ADV dated March 5, 2008 falsely represented that:

                MAXAM recommends investment advisors to its clients and
                makes and/or recommends investments in private placement
                vehicles. In this process, MAXAM’s staff evaluates investment
                management organizations. MAXAM analyzes, in detail, the
                philosophy, investment professionals, decisional processes and
                performance of the organization and the investment products
                offered. MAXAM’ s staff also visits investment organizations to
                evaluate back office operations and internal staff, among other
                things.




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       66.     This statement is false and misleading and omits the material fact that Manzke

created the Maxam Fund solely to invest with Madoff, that she did not rely on the “underlying

investment managers reports and documents,” including PPMs, to invest with Madoff, and

neither Defendant Manzke nor any of the other Maxam Defendants could have visited

“investment organizations to evaluate back office operations and internal staff’ because

Madoff’s operation was shrouded in secrecy.

       67.     The Form ADV further represented that Maxam Capital used other strategies to

conduct due diligence, which included:

                  utiliz[ingj databases, wire services, performance measurement
               publications and other business journals as information sources.
               MAXAM has a license to utilize the information included in
               Pertrac, and Eurekahedge databases.         In addition, MAXAM
               sources data on   new investment  organizations through referrals by
               other investment managers, its clients and financial service
               providers. MAXAM relies on the underlying investment manager
               reports and documents (private placement memoranda, annual
               reports, shareholder reports and monthly and/or quarterly manager
               letters).

       68.     Had Maxam Capital used “performance measurement publications and other

business journals as information sources,” the Maxam Defendants could not have ignored            —




unless they were complicit   —   the significance of the warning signs they knew and that kept other

hedge fund managers from investing their clients’ assets with Madoff. As described below,

MARHedge and Barron ‘s, two prominent industry publications, featured articles doubting

Madoffs legitimacy and his purported returns as early as 2001.

       69.    In a May 2001 article entitled “Madoff Tops Charts; Skeptics Ask How,” Michael

Ocrant, managing editor of MARHedge, a New York-based hedge fund publication, eyed

Madoff’ s success with skepticism because of the unrealistic nature of Madoff s returns and their




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consistency. Specifically troubling to Ocrant was Madoff’s determined reluctance to justify or

explain his firm’s strategy or success:

       (a)     “As for the specifics of how the firm manages risk and limits the market impact of

               moving so much capital in and out of positions, Madoff responds first by saying,

               ‘I’m not interested in educating the world on our strategy, and I won’t get into the

               nuances of how we manage risk.’            He reiterates the undisputed strength and

               advantages the firm’s operations provide that make it possible.”

       (b)     “The inability of other firms to duplicate his firm’s success with the strategy, says

               Madoff, is attributable, again, to its highly regarded operational infrastructure. He

               notes that one could make the same observation about many businesses, including

               market making firms.”

       (c)     “Madoff, who believes that he deserves ‘some credibility as a trader for 40 years,’

               says: ‘The strategy is the strategy and the returns are the returns.’ He suggests

               that those who believe there is something more to it and are seeking an answer

               beyond that are wasting their time.”

       70.     In the same month, Barron ‘s published an article entitled “Don’t Ask, Don’t Tell”

discussing the remarkably steady returns purportedly achieved by Madoff. The Barron ‘s article

discussed the belief of many hedge fund professionals and options strategists that Madoff could

not achieve the returns he reported   —   an average annual return of 15% for the preceding decade   —




using the strategy that Madoff described. In addition to the suspicious consistency of Madoffs

high returns, the article discussed several other warning signs that suggested Madoff might be

committing fraud, including Madoff’s secrecy and the inability of “more than a dozen hedge




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fund professionals, including current and former Madoff traders” to duplicate Madoff’s returns

using his strategy.

        71.     Indeed, as set forth above, Defendant Manzke publicly admitted in the Frontline

Interview that she knew of the warning signs other investment professionals saw and heeded, but

invested with Madoff anyway. When Manzke was asked in the Frontline Interview whether she

was bothered by the tiny size of Madoff’ s accounting firm, she replied that “[off course, it

bothered you. I mean, every -you know, those are the kind of things that it would bother you.

But that was one of the conditions of doing business, that you accepted that. And part of that

was his, you know, proprietary trading model, the black box that he used, that he wasn ‘t going

to disclose what was in it.” (Emphasis added).

        72.     As detailed in the Trustee’s Complaint, however, certain of Maxam Capital’s own

due diligence materials state that Maxam Capital will follow up with a fund’s contacts and “will

speak directly with the fund administrator, prime broker, and auditor to make sure that the

process described at the manager level are {sicj actually carried out by the third party service

provider.” The Trustee alleged, on information and belief, that Maxam Capital did not speak

with Friehling &Horowitz, BLMIS’ auditor. Elsewhere, Maxam Capital claims that      “[i]f we are
not comfortable with the business risks from this review, we can eliminate a manager from

further consideration.” Maxam Capital also contended that it performed reference checks on

third party providers and would “thoroughly review and analyze the manager’s audited financial

statements.” Id. Maxam Capital did none of this, and the Maxam Defendants continued to

benefit from Madoff’s fraudulent scheme.

               5.      False and Misleading Investor Statements Sent to Limited Partners

        73.    In addition to the false and misleading statements in PPMs and Form ADVs, the

Maxam Defendants also issued false and misleading monthly Investor Statements to Plaintiff and


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other limited partners. The Investor Statements reported market values of investments that were

false because Madoff was operating a Ponzi scheme. The Investor Statements showed assets that

simply did not exist, including fictitious profits. Plaintiff and members of the Class relied on

these false Investor Statements to make additional purchases in their Maxam Fund investment

accounts or to resolve not to sell, and continue to hold onto, their limited partnership interests.

       74.     According to the Maxam Fund PPMs, the Maxam Fund’s Administrator, Maxam

Capital (prior to March 21, 2008, MCML), was responsible for, among other things, calculating

valuations using independent pricing sources, reconciling case and portfolio positions,

calculating all partnership fees, preparing periodic financial statements, and calculating and

disseminating the NAV of the Fund. As the Maxam Fund’s Administrator, Maxam Capital was

tasked with making sure that the Investor Statements, which were provided to all limited

partners, were truthful and accurate. Defendant Maxam Capital was, at minimum, reckless in

sending these false Investor Statements to the Fund’s limited partners without independently

confirming the accuracy of the values therein.

       C.      The Maxam Defendants Ignored Known Warning Signs of Potential Fraud

       75.     The Maxam Defendants were experienced investment professionals and marketed

themselves as such. The marketing materials claimed that “six senior professionals” had “in

excess of 100 years experience in the investment community” and that its “[slenior professionals

have been investing in hedge funds since 1985 and are recognized as leaders in this field.”

Maxam Capital’s marketing materials also state that “[Maxam Capitalj has established a strong

compliance capability as part of its culture.” Maxam Capital also had an Investment Committee,

which, among other things, was to provide information upon which investment and trading

decisions concerning the Maxam Fund would be made, to participate in all aspects of manager

research and due diligence, and to review all investment supervisory accounts at least monthly.


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The Investment Committee boasted numerous sophisticated financial professionals, including

Manzke, and some of her former colleagues from Tremont, such as, Suzanne S. Hammond, a

managing director of Maxam Capital, who was a former Tremont executive responsible for

Tremont’s single manager (i.e., Madoff) business; Joseph Soares, also a managing director of

Maxam Capital, who was a former Tremont executive responsible for client reporting, manager

monitoring and all portfolio operations; Catherine Sweeney, a former Tremont executive

responsible for the comprehensive due diligence process on investment managers, reviewing,

selecting, and recommending managers for Tremont’s consulting clients; and Harvey Goldsmith,

an experienced fund of funds manager.

       76.     In fact, as alleged in the Madoff Trustee’s complaint against the Maxam

Defendants, a Maxam executive misled a skeptical potential investor, who ultimately decided not

to invest in BLMIS, in an October 2008 email. In that email exchange, the Maxam executive

stated “I know from personal discussions with executive level people that [Madoff] is highly

respected for his expertise and the businesses he built     .   .   .   We have spent considerable time with

him and with others in his organization and are comfortable with the infrastructure and the

manner in which he manages the Fund.      .   .   We closely monitor his trades, his execution and his

adherence to the stated strategy.”

       77.     This was, of course, completely false and no monitoring or independent

confirmation of Madoff’s trades or strategy was ever performed.

       78.     According to the Trustee’s Complaint, during her July 7, 2009 deposition before

the Trustee’s counsel, Manzke admitted that she did not ask Madoff why he was not charging a

performance fee or why he self-custodied. Nor could she adequately testify as to what she, as

CEO of Maxam Capital or Tremont or anyone else at Tremont, did to independently verify the




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checks and balances that BLMIS purportedly had in place to monitor its capital allocations.

Rather, Manzke and the other Maxam Defendants were content to obtain a new BLMIS account,

collect generous fees, and look the other way despite their knowledge of clear indicia of

Madoff’s fraud.

       79.     As a result of their expertise and long-standing history with Madoff, the Maxam

Defendants had actual andior constructive knowledge of the following warning signs of potential

fraud, which they ignored in order to line their own pockets.

               1.      BLMIS Served As Custodian, Investment Manager and Broker

       80.     BLMIS served the three functions of investment advisor, executing broker and

custodian of securities, in contravention of an industry risk control mechanism by which the

custodian of securities is generally independent of the investment manager.         The Maxam

Defendants ignored this clear peculiarity and never verified that the securities Madoff

purportedly purchased for them actually existed.

               2.     Madoff Could Have But Did Not Charge Significant Management
                      And Performance Fees

       81.     In another deviation from well-established organizational and remuneration

practices in the hedge fund industry, Madoff ran his investment adviser business as a division of

his broker dealer, BLMIS.     Many other managers employing a specific investment strategy

utilized a standalone hedge fund structure.

       82.     In addition, Madoffs compensation structure was itself a red flag of potential

fraud and used as an inducement for funds to keep feeding him billions. While other hedge fund

managers typically charge fees of 1% to 2% of assets under management, along with

performance fees of 10% to 20% of profits generated for the fund, Madoff, in connection with

his investment advisory services, charged only a four-cent per share “brokerage commission” for



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each purported equity trade, and a $1 per option contract executed. According to the Trustee’s

Complaint, this highly atypical compensation arrangement between Madoff and Maxam Capital

resulted in Madoff leaving anywhere from $6.8 million to $17 million on the table for the

Maxam Fund between 2006 and 2008. Manzke testified that she believed BLMIS’s investment

advisory business had anywhere between $20 to $30 billion in assets under management, which

means Manzke had to have known that Madoffs fee structure resulted in him giving up

hundreds of millions of dollars that he could have collected, but did not.

           83.   Because Madoff charged only brokerage commissions, in lieu of management or

performance fees as fund managers typically did, the Maxam Defendants were able to keep more

of the fees they collected.      In fact, the Maxam Defendants reaped extraordinarily and

suspiciously high rewards for providing little or no management services.

                 3.     BLMIS Utilized a Small Three-Person Audit Firm

           84.   As Manzke knew, although Madoff managed tens of billions of dollars worth of

assets, both domestically and internationally, BLMIS was audited by Friehling & Horowitz

(“F&H”), a three-person accounting shop located in a strip mall in Rockland County, New York.

Of those three persons, one was an assistant and one was a semi-retired accountant living in

Florida.

           85.   When asked during her “Frontline” interview whether she was at all bothered by

the size of the accounting firm, Manzke admitted: “Of course, it bothered you. I mean, every   —




you know, those are the kind of things that it would bother you. But that was one of the

conditions of doing business, that you accepted that.”

       86.       On March 18, 2009, the SEC charged David Friehling (“Friehling”) and F&H

with securities fraud for representing that they had conducted legitimate audits of BLMIS when

they had not. Friehling pleaded guilty to these charges in November 2009.


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               4.     Madoff’s Reported Profits Were Unrealistically Consistent

       87.     The Maxam Defendants knew that Madoff reported remarkably consistent returns

even during periods of severe downturns in the equities market despite the fact that Madoff’ s

purported split-strike conversion strategy was tied to the equities markets. If the Maxam

Defendants had performed a basic and reasonable quantitative analysis used in the industry at the

time of Madoff’s purported returns based on this strategy, they would have realized that his

consistent performance was so improbable as to be impossible.

               5.     The Volume of Madoff’s Purported Options Was Impossible

       88.     The Maxam Defendants knew or had constructive knowledge that the volume of

Madoff’ s purported options trading was impossible if those option contracts had been exchange-

traded because BLMIS reported a traded option volume that exceeded the corresponding volume

for those contracts on the Chicago Board Options Exchange (“CBOE”). The Maxam Defendants

could have and should have performed a simple review of the purported options trading volume

against the CBOE volume. In fact, as discussed further below, Investment Advisor Ivy Asset

Management Corp. (“Ivy”), did perform such a review and ultimately withdrew all of its

proprietary funds from Madoff based on its grave suspicions regarding Madoff’s options trading.

That the Maxam Defendants did not confirms that no independent due diligence was ever

performed on Madoff’s trading activity.

              6.      Madoff’s Purported Equities Trading Volume Was Implausible

       89.    The Maxam Defendants knew that Madoff’s reported equities trading volume was

virtually impossible and should have conducted further inquiry.       The Trustee’s Complaint

proffered a sampling of days where the intraday trading volume was insufficient for Madoff to

achieve his purported transaction price. For example, on December 22, 2006, Madoff purported

to sell 17,367 shares of JP Morgan Chase on behalf of the Maxam Fund at a price of $48.73 per


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share. However, on that day, only 6,900 total shares of JP Morgan were sold at or above the

price of $48.73. Again, on September 13, 2007, although Madoff purportedly purchased 22,816

shares of Verizon on behalf of Maxam Fund at a price of $42.16, only a total of 5,500 shares of

Verizon stock were purchased on September 13, 2007 at or below that price.

               7.     Madoff’s Purported Trading Had No Effect on the Market

       90.     The Maxam Defendants knew that Madoff moved between $20 to $30 billion into

and out of the equities and options markets over the course of just a few days, which would have

resulted in market reaction but Madoff’s trades seemingly had no impact on the market. Yet, the

Maxam Defendants never independently investigated how Madoff could accomplish these trades

without any impact on the price of the securities bought and sold, without any market footprint

and without anyone knowing or hearing about his alleged trading activity.         Similarly, when

Madoff purported to place his customers’ assets in Treasuries, the activity of moving billions of

dollars in and out of the market would have impacted the price of Treasuries.

               8.     Madoff’s Remarkable Ability
                      to Make Trades At the Most Optimal Prices

       91.     The trade tickets and account statements for BLMIS’s purported purchases and

sales for the Maxam Fund almost always appeared to occur at precisely the right time of day.

Specifically, for the majority of time when BLMIS was purportedly purchasing shares for the

Maxam Fund, the reported purchase prices was below the daily midpoint price, and, conversely,

the reported sale prices were generally above the daily midpoint price.         This regularity is

particularly uncanny because, as explained by the Maxam Trustee, the Maxam Defendants would

have known for Madoff to truly execute his split-strike conversion strategy by engaging in “time

slicing” within a given day, this practice would have resulted in BLMIS’s trades on behalf of the

Maxam Fund being somewhere in the range of the daily midpoint price.



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                   9.    Madoff Refused to Disclose the Identities
                         of His Counterparties on Options Trading

          92.      Madoff insisted on secrecy regarding the identity of the counterparties on the

options transactions and would not disclose the identities of the counterparties to Manzke or

others.         The Maxam Defendants simply accepted Madoff’s vague descriptions of the

counterparties and, in violation of their fiduciary duties, did not seek confirmation of the

creditworthiness of the counterparties.

          93.      As detailed in the Trustee’s Complaint, the Maxam Fund entered into an

agreement with BLMIS entitled “Terms and Conditions for Option Hedging Transactions,”

pursuant to which “(BLMIS) will effect, as agent, the client’s transactions” (emphasis added).

Under the terms of the agreement, as understood by the Maxam Fund, the counterparty risk was

borne by the Maxam Fund, itself, rather than Madoff, the broker dealer, even though BLMIS was

choosing the counterparty on behalf of the Maxam. The Trustee alleged, upon information and

belief, that the Maxam Defendants did not know the counterparties to these transactions and

never attempted to seek them out.          According to the    Trustee’s Complaint, the Maxam

Defendants’ conduct in this regard contradicts representations made by Maxam Capital in the

December 2005 due diligence questionnaire submitted to the Alternative Investment

Management Association “AlMA,” in which Maxam Capital stated that “[wihen MAXAM

establishes a fund of funds, each sub-advisor’s documents are analyzed to be sure that they




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clearly explain the manager’s strategy, including approved counterparties, markets, instruments,

and specific trading policies for the fund.”
                                      3

        94.     Additionally, the options trades were inconsistent with Madoff’s representations

regarding options trading. For example, as described in the Madoff Trustee’s complaint, even

though the options were apparently done in the OTC market, where the counterparty will

typically be listed and identified on the trade confirmation, the trade confirmations received by

the Maxam Fund did not identify the counterparties. As noted below, the trade confirmations

also bizarrely showed CUSIP identification numbers even though OTC options are typically not

assigned CUSIPs, like trades conducted on the CBOE.               Also, to the extent options were

exchange-traded options, rather than OTC transactions, the Madoff Trustee alleges that the trades

should have settled at “T+ I”   —   one business day after the trade date. However, almost all of the

options trades for the Maxam Fund were settled beyond that time frame.

        95.     Essentially, the Maxam Defendants allowed their investors to be exposed to

billions of dollars of potential losses were the counterparties to fail or break the trades.

                10.    BLMIS Customers Received Paper Trade Confirmations

       96.     Although Madoff was known as a pioneer in electronic trading platforms, BLMIS

did not provide electronic trade confirmations to any of its customers, including the Maxam

Fund. As detailed in the Maxam Trustee’s complaint, according to Defendant Manzke, during

some visits to BLMIS when she worked at Tremont, Madoff would walk through the trading

floor, to “show off his paperless trading floor.” Yet, the Maxam Fund received only paper



  AlMA is a global hedge fund and alternative investment industry association that produces due
diligence questionnaires, which are used by members and institutional investors on AlMA’s confidential
database and are used for selecting managers and service providers.




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confirmations via standard mail days after a trade was purportedly executed rather than having

real-time electronic access to the trade confirmations.    The Maxam Defendants deliberately

disregarded this substantial warning sign.

        97.    The Maxam Defendants had to have reviewed all of the trade confirmations

received from BLMIS. According to the Amended PPM, Maxam Capital, as the administrator of

the Maxam Fund, was responsible for calculating the NAV of the Fund on a trade date basis, as

of the end of the last business day of each calendar month or at such other time determined by

the General Partner in its discretion. The General Partner, Maxam GP, was also responsible for

calculating the NAV of the Maxam Fund. Moreover, Maxam Capital received fees that were

calculated as a percentage of the NAy. As Maxam Capital collected lucrative fees from the

Maxam Fund, it is evident that the Maxam Defendants necessarily reviewed the trade

confirmations received from BLMIS and therefore knew of the numerous discrepancies

contained therein.

               11.    BLMIS’s Trade Confirmations Contained Errors

       98.     The Maxam Defendants would have received trade confirmations on Madoff’s

options trades. Although Madoff claimed that his options trades were conducted in the private

OTC market and not in the CBOE, the trade confirmations BLMIS sent to the Maxam

Defendants showed CUSIP identification numbers for the options traded.         This is erroneous

because OTC options are private transactions that are not assigned a CUSIP number while

options traded on the CBOE do have a CUSIP number.

       D.      The Maxam Defendants Breached Their Fiduciary Duties

       99.     As the Maxam PPMs state, “[l]imited {plartners will have no right or power to

take part in the management of the Partnership, nor in any decision with regard to the allocation




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of management of the Partnership’s assets.” Further, “[ajil decisions with respect to the general

management of the Partnership are made by the General Partner.”

        100.   Accordingly, Plaintiff and the other limited partners were completely dependent

on the Maxam Defendants to fulfill their fiduciary duties to investigate all potential investment

managers before retaining them and to continue monitoring such managers during their period of

retention.

        101.   Nonetheless, the Maxam Defendants, in breach of their fiduciary duties, failed to

conduct due diligence on Madoff, who was the manager of 100% of the Fund’s assets. The

Maxam Defendants instead relied on Madoffs reputation and his reported returns without

conducting any independent investigation of Madoff or his operation, andlor an analysis of the

trading strategies and investment returns reported by Madoff, which remained consistently high

regardless of market conditions.

        E.     The Maxam Defendants Collected Hefty Fees
               Despite Their Utter Dereliction Of Fiduciary Duties

        102.   Notwithstanding the Maxam Defendants’ egregious conduct in failing to properly

conduct due diligence and failing to ensure that the Maxam Fund’s assets were invested in

accordance with the provisions of the PPMs, instead of in a Ponzi scheme orchestrated by

Madoff, the Maxam Defendants nevertheless collected lucrative management and administrative

fees.

        103.   In exchange for the Maxam Defendants’ alleged investing expertise and due

diligence, Maxam Capital received management fees of up to 0.083% of the NAV of each

limited partner’s capital account. These management fees were assessed on a pro rata basis for a

limited partner’s actual period of ownership during a calendar month.       The annual rate is

approximately one percent (1%).



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         104.   As set forth above, Maxam Capital, and earlier, MCML, provided administrative

services to the Maxam Fund including, but not limited to, maintaining books and records with

respect to the assets of the Maxam Fund entrusted to Madoff, including daily trading activity

with respect to such assets, and reconciling those books and records with confirmations and

statements received from Madoff or his affiliated entities.         By failing to identify and report

inconsistencies between these records and publicly available pricing and volume information and

Madoff’s reported but fictitious results, among other things, Maxam Capital breached its duties

to Plaintiff and the other limited partners of the Maxam Fund. However, in exchange for Maxam

Capital’s and MCML’s purported administrative services, it received administrative fees of

0.20% of the NAV of each limited partner’s capital account. The administrative fee was also

assessed on a pro rata basis for a limited partner’s actual period of ownership during a calendar

month.

         105.   As set forth above, Madoff did not charge standard management fees but only

charged the Maxam Defendants a fourcent per share “brokerage commission” for each

purported equity trade made in the investment adviser business customer accounts, and a $1 per

option contract executed. This compensation arrangement allowed the Maxam Defendants to

keep more of the fees they collected from the Maxam Fund’s investors than they could have had

they invested Maxam’s assets with a legitimate investment manager who charged typical

management fees.

         106.   The Siedle Affidavit submitted in the Fairfield Action stated that: “Maxam

Capital, and its principal, [Sandral Manzke, and affiliated companies, Maxam Capital GP, LLC

and Maxam Capital Management Limited        .   .   .    were all aware that Bernard L. Madoff was

engaging in illegal conduct in connection with his purported money management operations




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and intentionally chose to participate in and support Madoff’s illegal conduct in order to reap

enormous illicitfinancial benefits.” Siedle Aff.     ¶ 4 (emphasis added).
        107.   Upon information and belief, Maxam Capital and MCML together collected in

excess of $5.8 million in management and administrative fees in connection with the Maxam

Fund’s investments with Madoff.

        F.     Other Investment Professionals Who Conducted Due
               Diligence On Madoff Did Not Invest Or Stopped Investing With Madoff

        108.   Numerous investment advisors, investment banks and pension funds that took the

time and effort to conduct proper due diligence reviews of Madoff chose to not invest or not

maintain their earlier investments in BLMIS. The Maxam Defendants, however, intentionally

chose to not conduct due diligence, and instead turned a blind eye to the warning signs that they

saw about Madoff and acceded to his demands for absolute secrecy. Investment managers who

chose not to entrust their clients’ funds to Madoff were not supernaturally prescient. Reasonable

due diligence was all that was required to expose the illusory nature of Madoff’s returns.

        109.   Concerns about Madoff were well publicized in sources that would have brought

them to Defendants’ attention. As described above, two May 2001 articles in Barron ‘s and

MARHedge both expressed skepticism regarding Madoff’s ability to achieve his remarkably

consistent returns using his purported strategy and described warning signs of potential fraud.

       110.    Madoff was also the subject of constant SEC investigations        —   commenced in

1992, 2005, and 2007   —   into the legitimacy of his business, and scrutinized by members of the

investment community who understood that his business was suspect and could be a fraud.

       111.    On August 31, 2009, the SEC Office of Inspector General issued a report entitled

“Investigation of Failure of the SEC to Uncover Bernard Madoff’ s Ponzi Scheme (the “SEC OIG

Report”), in which the SEC reached the conclusion that its own earlier failure to detect Madoffs



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fraud was inexcusable. It found that SEC employees, had they properly examined the red flags

and took basic steps to determine if Madoff was operating a Ponzi scheme, would have

recognized the significance of the red flags that the investment professionals heeded, and would

have discovered the fraud “well before Madoff confessed.”

        112.   The Report describes how many investment professionals, who conducted due

diligence on Madoff using customary methods for conducting due diligence in the industry,

determined that investing with Madoff was too risky given the existence of the myriad red flags.

As the SEC OIG Report states, “[m]any of the private entities that conducted due diligence of

Madoff and declined to invest with him because of significant red flags that arose during the

routine review of his operations.”

       113.    One significant red flag, noted by many professionals throughout the financial

industry, but deliberately ignored by the Maxam Defendants, was the impossibility of recreating

Madoff’s results based on an application of his strategy to publicly available information.

       114.    As described in the SEC OIG Report, on November 7, 1999, Harry Markopolos

wrote a letter (the “November 7 Letter”) to the SEC which stated that: “Madoff Securities is the

world’s largest Ponzi Scheme.” Markopolos, who years before had worked for a rival firm,

researched Madoff’s stock-options strategy and, based upon publicly available information, was

convinced that the results were phony.

       115.    The very first red flag set forth in the November 7 Letter noted that Madoff’ s fee

structure made no sense, because, while Madoff was running a hedge fund, he did not charge the

standard fees a hedge fund would charge (1% management fee and 20% profits) and instead

charged only a commission on the purported trades his company was making with investors’




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money. Regardless of whether the November 7 Letter was available to Merkin and GCC, they

were aware of the issue and failed to conduct any meaningful investigation.

        116.     Among the other 28 red flags raised by the November 7 Letter are:

                 (a)     The lack of transparency into BMIS, including Madoff’s refusal to

disclose his investment strategy;


                 (b)     Madoff’s returns were abnormally smooth with very little volatility,

including only five months of negative returns in the past 12 years;


                 (c)     The inability of other funds using a “split-strike conversion” strategy to

generate returns even remotely comparable to those generated by Madoff


                 (d)     Madoff acted as his own prime broker, while most hedge funds use large

banks such as Goldman Sachs and Morgan Stanley as their prime brokers;

                 (e)     Monthly account statements sent to Madoff’s investors did not support the

returns they reported;

                 (f)     The exchanges upon which Madoff purportedly conducted options trades

had insufficient volume to support such trades and the trades could not be independently verified

or replicated;

                 (g)     BMIS was audited by a small accounting firm, unlike the majority of

single strategy hedge funds that are audited by one of the top 10 audit firms; and

                 (h)     Madoff insisted the he and BMIS not be referenced in the offering

materials which Plaintiffs and other members of the Class relied upon.

        117.     If the Maxam Defendants had conducted the due diligence and risk management

that they claimed, they would have confirmed the existence of each of these red flags.



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        1 18.   The SEC 010 Report described a statement given to them in an interview by

Michael Ocrant, a financial journalist who authored the article entitled, “Madoff tops Charts;

Skeptics Ask How.” Ocrant described how he:

                gave the terms and strategies [utilized by Madoff] to a guy who ran
                a quantitative analysis with a Japanese bank for a Fund to funds
                they ran and I said can you take this data and can you have you
                                                                            —




                crunch it and let me know what you think and I didn’t give any
                further information and I said this is the strategy. He got back to
                me like a week to 10 days later and he said, “Well, the team came
                back and they said this could be done by a market-maker, probably
                have to use front money to do it,” and I said, “Oh, that’s
                interesting,” and I said, “What would you say if I told you this guy
                was managing maybe $5-6-7 billion?” He said, “Impossible. It
                has to be a Ponzi scheme.”

        119.    The SEC 010 Report describes how James Hedges, IV, who was the president

and Chief Investment Officer of a global investment firm, viewed Madoff’s uniformly positive

results. He stated that that a “substantial red flag” was the “consistency of [Madoffs] returns

that was not in keeping with the type of strategy that we understood him to be implementing

because we felt that there were   --   that the track record did not correlate to what we saw as either

market factors, volatility factors, or other exogenous factors that would have otherwise affected

the track record one way or another.” The CEO of the research firm stated immediately he was

“cynical” because, “The returns were impossible. Absolutely impossible in my opinion. No

financial strategy could produce those sort of returns.”

       120.     The consistency of Madoff’s results and superiority of Madoffs returns as

compared to other investment managers was particularly eye-catching given that, as another fund

manager, George Stahl, whose firm considered a Madoff feeder fund for a possible investment in

2005, stated, the strategy the Madoff feeder fund described “was a relatively common strategy.”

Mr. Stahl stated that he found this “odd.” As described in the SEC 010 Report:




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                According to Stahl, the split-strike conversion strategy Madoff
                purportedly was using “usually produces a pretty consistent
                return,” but in Madoff’s case, the “level of consistency exhibited
                by [Madoff’s] strategy relative to other strategies we knew that did
                similar things was much, much better.” Stahl said that strategy
                worked well for several years, but in 2004 and 2005, because the
                “volatility levels in the market had fallen off so dramatically” the
                returns from that strategy fell off. Stahl said Madoff’s “strategy
                has been around forever” and he knew of a mutual fund that
                adopted the same strategy, but while that mutual fund’s returns got
                weaker as the overall market got weaker, Madoffs returns
                “remained very high.”

        121.    Another red flag causing many funds to avoid investing with BLMIS was that

Madoff’ s market-based strategy reported impossibly consistent results despite market

fluctuations.

        122.    An unidentified CEO of a fund of funds, who was interviewed by the SEC during

the course of its investigation into Madoff stated that:

                when it came to Madoff, “[m]arket’s down, markets didn’t really
                matter,” explaining that “[y]ou can construct a strategy like that
                where you’ll make money most of the time but you cannot
                construct a strategy where you make money all the time.” The
                CEO said he had seen consistent strategies before, but “every once
                in a while, they trip up, while Madoff “didn’t have that every once
                in a while.”

                The CEO was suspicious and obtained copies of an investor’s last
                few account statements from Madoff Securities, and compared a
                sample of trades on the statements with what was actually going on
                in the markets on the day Madoff was trading. The CEO stated he
                found this “pattern which really seemed weird where the where
                                                                          --



                the purchases were all at or close to the lows of the day and the
                sales were at or close to the highs of the day,” noting that “of
                course, nobody can do that.” His “suspicion was that the fact
                pattern that [he] had seen seemed consistent with a Ponzi scheme.”
                The CEO said he “didn’t conclude that that was the case, but [he]
                certainly thought there was enough of a risk that that was the case
                that, you know, [he] certainly wouldn ‘t touch it with a 10-foot
                pole.”




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       123.    Another red flag that caused many investment managers to keep clear of Madoff

was that the numbers of OEX options he claimed to trade on a given day, frequently exceeded

the total amount of such options that were traded that day on the CBOE, the only exchange

trading those options.

        124.   The SEC OIG Report discussed the decisions of the managers of certain funds of

funds to avoid investing in Madoff and his feeder funds after observing this red flag:

               [OneJ registered fund of funds evaluated potential investments
               with Madoff feeder funds in 1998 and 2003. It considered an
               investment with Fairfield in 1998. As part of their standard due
               diligence process, the Hedge Fund Manager and his unidentified
               ClO met with Madoff. The ClO, a former options trader, pressed
               Madoff for information about his options trading. To the ClO’s
               surprise, Madoff claimed to trade options through the Chicago
               Board of Options Exchange (CBOE). The CIO stated: “Well I
               found something exceptionally odd about that       [I]mmediately
                                                                          ....



               what I asked  Madoff   was: How   are you doing that?  Because I
               don’t think there’s enough volume on the Chicago Board of
               Options Exchange for you to get that sort of coverage for the
               amount that you’re managing.”

               The ClO’s suspicions triggered, he called CBOE to find out how
               much daily volume traded on the exchange. He described his call
               to CBOE, as follows: “And the problem is. that the volume was
                                                                  .   .




               never there for Madoff. So that was problem No. 1 for me.
               Problem No. 2 was     .    I called up buddies of mine around the
                                             .       .




               street who were now running the equity derivatives departments of
               a number of firms, and I asked them all if they were trading with
               Madoff. And nobody was. Nobody was doing these OEX options.
               And in fact, the funny part about it was they all said, yeah. You
               know, I hear that he’s doing all these trades but, you know, we
               don’t see it anywhere     . And so things just began to, you know,
                                                 .       .



               not  match up.  And  so for me, the biggest issue was the biggest —




               issue was the fact that I couldn’t reconcile a big part of that
               strategy. And the information that was being told to me on the
               surface seemed to be false.” Because of the unanswered questions,
               they passed on the investment.

        125.   Investment Advisor Ivy Asset Management Corp. (“Ivy”), which had clients and,

at one point, proprietary invested with Madoff also developed, early on, profound suspicions



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concerning Madoff’s legitimacy based on the OEX options red flag. These crystallized no later

than December 15, 1998, when at a meeting with Madoff, Ivy co-founder Simon Wohi (“Wohl”)

was given suspect explanations for how Madoff managed to trade OEX options in numbers

significantly exceeding the total OEX options traded on the exchange.            The next day, Wohi

recommended, in an email to Ivy’s co-founder, Larry Simon, that Ivy no longer invest

proprietary funds with Madoff, stating:

                 I’m concerned that he [Madoff] now admits that he does not
                 execute all of the index options on the exchange that there are
                 ‘unknown’ counterparties that if these options are not paid off he’d
                 lose less than 100% It remains a matter of faith based on great
                 performance this doesn’t justify any investment, let alone 3%.
                              —




       126.      In 2000, Ivy withdrew its proprietary funds from Madoff. As Ivy’s director of

client development stated in a later email, “We used to use Madoff in our funds but elected to get

out when we figured it was just too risky since we couldn’t get our arms around how he does

what he does.”

       127.      As detailed in the SEC 010 Report, the inability to verify Madoff’s option trading

was a major red flag to many potential investors:

                 Many of the private entities that conducted due diligence of
                 Madoff and declined to invest with him because of significant red
                 flags that arose during the routine review of his operations felt that
                 the SEC could have uncovered the fraud. [One investor] thought a
                 regulator could have verified whether Madoff was trading by
                 asking Madoff who his counterparty was and then verifying with
                 the counterparty that the trade took place.   .   .[Another investor
                                                                       .



                 named] Broder would have performed the same verification
                 process whether Madoff claimed his counterparty was in the
                 United States or in Europe.

                 Broder explained his reasoning as follows:

              [S]omewhere in the marketplace, either in an exchange-traded
              marketplace or an OTC marketplace, exactly those trades which
              were on the client account statement should exist on someone



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                else’s books, you know.   .   Somewhere in the marketplace, either
                                              .



                OTC or exchange-traded, those trades were taking place. And it
                seems to me a very simple set of steps to verify that those volumes
                [existed]. .   .  I don’t see how that could have possibly been
                                   .



                missed. I mean, this is a very simple verification. I mean this guy
                is trading this is a cash account. So he’s turning over $10 billion
                          —




                of stocks each particular month. I mean, you’ve got to be [able to
                see it] in the marketplace.



                [Another investor stated that if he] were investigating Madoff, he
                •   would have asked Madoff to show me the other side of your
                    .



                trades whether he claimed to trade in the United States or Europe:
                “I need to see the other side of those trades in Europe. If they’re in
                Europe, that’s fine, but you’re doing them with someone. There’s
                got to be somebody on the other side of the trade.”

       128.     An additional red flag was that Madoff self-custodied. A December 13, 2008

article in The Wall Street Journal, entitled “Redflags in Bernard Madoff’s Alleged Ponzi Scam,”

quoted Chris Addy, founder of Castle Hall Alternatives and an investor in hedge funds, as

follows:

                There was no independent custodian involved who could prove the
                existence of assets... There’s clear and blatant conflict of interest
                with a manager using a related-party broker-dealer. Madoff is
                enormously unusual in that this is not a structure I’ve seen.

       129.     Yet another red flag, which got attention in the financial community long before

Madoff’s Ponzi scheme crumbled, was Madoffs inexplicably low rates for his services. For

example, as detailed in the SEC OIG Report, the portfolio manager for a Renaissance fund

expressed concern in a November 13, 2003 email as to why Madoff was charging so little for his

services: “not only are we unsure as to how [Madoff] makes money for us, we are even more

unsure as to how [Madoff] makes money from us; i.e., why does [Madoff] let us make so much

money?” Based on this and other red flags, Renaissance decided to withdraw all of its BLMIS

investments in 2003.



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       130.         An article entitled “European Banks Tally Losses Linked to Fraud,” published in

The New York Times on December 17, 2008, stated, in relevant part, that “Société

Générale. .was not the only financial firm to think Mr. Madoffs unfailing record was too good
          .




to be true. .Madoff did not pass due diligence for many European hedge fund companies,” Mr.
              . .




Indjic said. “Experienced people know there are many ways to provide the kind of return stream

offered by Madoff, almost like a bank account, and one of them is a Ponzi scheme.”

        131.        Indeed, as far back as 2000, Credit Suisse warned its clients to pull their

investments from Madoff, due to suspicions concerning his operations.

        132.        By early 2007, the research department of Union Bancaire Privée, a Swiss bank,

raised concerns about Madoffs legitimacy and recommended that Madoff be stricken from the

list of managers with which UBP invested.

        133.        As discussed above, Ivy, a major American investment manager, had significant

concerns about Madoff no later than 1998, and withdrew proprietary funds from BLMIS in 2000.

Over the years, Ivy insiders continued to express suspicions about Madoff. In an e-mail dated

April 1, 2002, for example, Wohi responded to a subordinate’s attempt to analyze Madoff’s

consistent success by writing, “Ah, Madoff. You omitted one other possibility      —   he’s a fraud!”

positioning discussing whether Madoff should not be recommended to future clients, in a

January 2003 e-mail, Wohi wrote, “Madoff (NOT)!” Finally, in 2006, due to concerns about

potential liability relating to Madoff, as to its pre-existing clients who had long been invested in

Madoff, Ivy revised its consulting agreements, to expressly exclude Madoff from its scope of

services which required it to research, monitor, evaluate and meet with outside managers.




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        134.   Similarly, Robert Rosenkranz, the principal of a major investment advisor to

wealthy clients, Acorn Partners, was reported in the financial press to have stated that his firm’s

earlier due diligence of the Madoff firm, based in part on the abnormally stable and high

investment returns claimed by Madoff and in part on inconsistencies between customer account

statements and audited BMIS financial statements filed with the SEC, caused Acorn to conclude

that it was highly likely that the BMIS account statements were generated as part of a fraudulent

scheme. An article entitled “Look Back at Wall St. Wizard Finds Magic Had Its Skeptics,”

published in The New York Times on December 12, 2008, quoted Mr. Rosenkranz, as stating:

               Our due diligence, which got into both account statements of his
               customers, and the audited statements of Madoff Securities, which
               he filed with the S.E.C., made it seem highly likely that the
               account statements themselves were just pieces of paper that were
               generated in connection with some sort of fraudulent activity.

       135.    Simon Fludgate, head of operational due diligence at Aksia, another advisory

firm, reported that it had concluded that Madoff was a fraud and, in 2007, advised clients not to

invest with him.    Aksia had concluded that the stock holdings reported in the quarterly

statements of BMIS filed with the SEC were too small to support the size of the assets Madoff

claimed to be managing. “There were no smoking guns, but too many things that didn’t add up,”

Mr. Fludgate said. The likely reason for this was publicly revealed on December 15, 2008, when

investigators working at Madoff’s offices determined that Madoff had been operating a secret,

unregistered investment vehicle from his office.

       136.    Simon Ruddick, the managing director of Albourne Partners, a London due

diligence firm, has said that Albourne had steered its customers away from BLMIS for almost a

decade. A Fort Worth pension fund that received advice from Albourne voted unanimously to

discontinue its investments in BLMJS in July 2008.




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        137.   Unlike the fund managers and other discussed above, the Maxam Defendants,

who are investment professionals with decades of experience, failed to conduct even a

rudimentary due diligence review, which, if conducted, would have alerted them to Madoff’s

scheme, or at least that he could not possibly achieve the returns he claimed. As a result of this

failure, the Maxam Defendants failed to give their clients the same basic and required protection

afforded by all of the forgoing entities, and, thus, breached their fiduciary duties to the Maxam

Fund’s limited partners.

        G.     The Fairfield Action

        138.   On March 30, 2009, the Retirement Program for Employees of the Town of

Fairfield, Retirement Program for Police Officers and Firemen of the Town of Fairfield, and the

Town of Fairfield (collectively, “Fairfield Plaintiffs”), as investors in the Maxam Fund, brought

an action against several feeder funds, including the Maxam Defendants, and others in the

Superior Court of the State of Connecticut: Retirement Program for Employees of the Town of

Fairfield, et a!. v. BernardL. Madoff eta!., FBT CV 095023735 (Conn. Sup. Ct.).

        139.   On May 4, 2009, the Fairfield Action was transferred from Fairfield to Stamford-

Norwalk (Index No. FST-CVO9-5011561-S).              A third amended complaint, the operative

complaint, was filed on May 6, 2011 and the Maxam Defendants filed an amended answer to that

complaint on February 2, 2012.

        140.   The Fairfield Action alleges, inter a!ia, that the Fairfield Plaintiffs first came into

contact with Madoff through earlier investments with Tremont. In or about April 2005, after

Defendant Manzke started Maxam Capital, Manzke, acting on behalf of the other Maxam

Defendants, approached the Fairfield Plaintiffs, taking advantage of her long-term personal

relationship as their pension investment adviser, to solicit them to withdraw their investments in

Tremont funds and purchase limited partnership interests in the Maxam Fund instead. The


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Fairfield Action alleges that Defendant Manzke’s conduct in forming Maxam Capital, and the

Maxam Defendants’ conduct in marketing the Maxam Fund, as well as their solicitation of the

Fairfield Plaintiffs to purchase limited partnership interests in the Maxam Fund, was undertaken

in concert with Madoff pursuant to his fraudulent scheme.

        141.   Among other allegations of wronging, the Fairfield plaintiffs allege that the

Maxam Defendants provided Fairfield with audited financial reports showing that the assets of

the Maxam Fund were held in custody at Bank of America, Corp., when, in reality, its assets

were kept in custody at BLMIS.

        142.   In applying for a prejudgment remedy on October 23, 2013, Fairfield alleged that

the Maxam Defendants had settled the Maxam Auditor Action for an undisclosed amount and

that “[the Maxam Defendantsj would not be distributing any portion of the settlement to the

limited partners” but would instead use the settlement proceeds to fund their defense in the

Trustee’s Action.       Further noting that the Maxam Defendants were sparing no expense in

litigation, Fairfield noted that counsel for the Maxam Defendants had revealed that at least 82%

of the settlement proceeds from the Auditor Action had been distributed already and that a

remaining $2 million of insurance coverage would also be used to fund their litigation costs in

the Fairfield Action.

        143.   On March 13, 2013, the Fairfield plaintiffs and Maxam Capital, Maxam GP,

Maxam Limited, Sandra Manzke, Walker Manzke, and April Manzke jointly moved for entry of

judgment because they entered into a $2.88 million settlement agreement (the “Fairfield

Settlement Agreement”). The court granted the motion on March 15, 2013, and a judgment was

entered on that same day. Under the terms of the Fairfield Settlement Agreement, the Fairfield

Plaintiffs will receive an initial sum of $250,000 from the Maxam Defendants. Payment of the




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remaining sum of approximately $2,630,860.00 is contingent and will be paid only “[i]n the

event that [the Maxam Fund’s] claim for reimbursement pursuant to the Securities Investor

Protection Act (“SIPA”)    .   .   .   is recognized or allowed in whole or in part or in the event [the

Maxam Fundi receives money directly on account of its SIPA Claim or in settlement of the

litigation over the SIPA Claim.” If the contingency occurs, the Fairfield Plaintiffs will be paid

the $2.63 million within five business days of the Maxam Fund receiving money from its SIPA

Claim. However, if the Maxam Fund receives reimbursement from its SIPA claim that is less

than the $2.63 million outstanding, the “Retirement Programs will be entitled to only those

amounts received by [the Maxam Fund], and will not be entitled to any additional payment,”

according to the Settlement Agreement.             Thus, all but $250,000 of the Maxam Defendants’

liability under the Fairfield Settlement Agreement is entirely dependent on the Maxam Fund’s

SIPA Claim being allowed.

        144.     The Fairfield Settlement Agreement further provides that the Maxam Defendants

may be indemnified for the contingent payment by the Maxam Fund, as set forth in the

Investment Management Agreement between the Maxam Fund and its Investment Manager,

Maxam Capital.

        145.     Further, according to the Fairfield Settlement Agreement, “[the Maxam Fund]

agrees to satisfy this obligation to the Investment Manager as the first payment out of any funds

received from [Maxam Fund’s SIPA Claim].”

        146.    In short, the Fairfield Settlement Agreement provides that the Maxam Defendants

may be fully indemnified for their liabilities to the Fairfield Plaintiffs and such indenmification

receives first priority.




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       147.    Paying the Fairfield Plaintiffs anything other than their pro rata losses will

unfairly dilute what other limited partners may recover; the Fairfield Plaintiffs, as limited

partners of the Maxam Fund, were not preexisting creditors of the Fund. Further, not only would

this serve to dilute any damages that Plaintiff and the Class may hope to recover from the

Maxam Defendants for their wrongdoing, but the money to extinguish the liability of Maxam

Capital, Maxam GP, and Manzke, the primary wrongdoers, in the Fairfield Action will come

from the assets of the Maxam Fund. The Maxam Defendants, as the primary wrongdoers, should

not be permitted to avail themselves of the Fund’s assets for their own benefit.

       H.      The Madoff Trustee’s Action

       148.    On December 8, 2010 the Trustee for the liquidation for BLMIS, filed a

complaint in the United States Bankruptcy Court for the Southern District of New York (No. 08-

01789 (BRL)) against the Maxam Fund, the Maxam Defendants, and others seeking more than

$100 million (the “Trustee Action”).

       149.    The Trustee’s Action complaint alleges, among other things, that the Maxam

Defendants (and others) “buried their heads as they profited richly from Madoff’s fraud and

focused on their own personal gain, doing the very thing that Manzke had so vehemently

criticized less than a month before the collapse of Madofrs Ponzi scheme.” While collecting in

excess of $5.8 million in fees, the Maxam Defendants contributed to the perpetuation of the

biggest Ponzi scheme in history.

        150.   The Trustee alleges that the Maxam Defendants knew or should have known that

they were profiting from fraud. As explained in the Trustee’s Complaint:

               Notwithstanding over a decade of investment management
               experience at Tremont, and purported financial expertise, [the
               Maxamj Defendants never questioned Madoff’s returns showing
               consistent positive returns, even when the stock market suffered
               serious downturns due to the Russian market crisis in 1998, the


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                  9/11 terrorist attacks, the burst of the Tech Bubble from 2001-
                  2003, and the 2007-2008 collapse in the financial and housing
                  markets. This is despite the Maxam Defendants’ understanding
                  that the Madoff strategy was supposedly tied, or correlated, to the
                  overall direction of the equity markets.

           151.   The Madoff Trustee seeks to recover, either directly from the Maxam Fund or

from subsequent transferees, almost $100 million in avoidable transfers received by the Maxam

Fund as well as $5.8 million in fees received by Maxam Capital, the $1.8 million Pound Ridge

house which Manzke allegedly fraudulently transferred to her son, daughter-in-law, and a trust

for their benefit, and Manzke’s $500,000 withdrawal from the Maxam Fund to her IRA in 2008.

                        PLAINTIFF’S CLASS ACTION ALLEGATIONS

           152.   Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(3) on behalf of itself and all those persons who were investors in the

Maxam Fund during the Class Period (May 30, 2006 through December 11, 2008) and who

suffered damages thereby. Excluded from the Class are the Maxam Defendants, the officers and

directors of the Maxam Defendants, members of their immediate families and their legal

representatives, heirs, successors, or assigns, and any entity in which the Maxam Defendants

have or had a controlling interest.

           153.   While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes that the Class is so large

that joinder of all members is impracticable. Members of the Class may be identified from

records maintained by Maxam Capital or Maxam GP and may be notified of the pendency of this

action by mail, using the form of notice similar to that customarily used in securities class

actions.




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        154.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of its claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

        155.     The Class claims present common questions of law or fact that predominate over

any questions affecting only individual members of the proposed Class, including:

                 (a)    Whether the federal securities laws were violated by the Maxam

Defendants’ acts as alleged herein;

                 (b)    Whether the Maxam Defendants made material misrepresentations or

omitted to state materials facts during the Class Period;

                 (c)    Whether the Maxam Defendants acted with knowledge or with reckless

disregard for the truth in misrepresenting and/or omitting material facts;

                 (d)    Whether the Maxam Defendants’ conduct was intentional, reckless, and/or

grossly negligent and/or in violation of fiduciary duties owed to Plaintiff and other Class

members; and

                 (e)    To what extent the members of the Class have sustained damages and the

proper measure of damages.

         156.    The claims Plaintiff asserts herein are typical of the claims of each of the other

Class members because, among other things, all Class members were comparably injured by the

Maxam Defendants’ wrongful conduct in violation of the federal and state laws described herein.

Plaintiff is advancing the same claims and legal theories on behalf of itself and the other Class

members and there are no defenses available to the Maxam Defendants that are unique to

Plaintiff.




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          157.   Plaintiff is an adequate representative of the proposed Class because his interests

do not conflict with the interests of the other Class members he seeks to represent; he has

retained counsel competent and experienced in complex class action litigation; and Plaintiff and

his counsel will prosecute this action vigorously.        The Class’s interests will be fairly and

adequately protected by Plaintiff and its counsel.

          158.   This action is maintainable as a class action because the Maxam Defendants have

acted on grounds generally applicable to the Class, thereby making final monetary, equitable and

declaratory relief appropriate to the Class as a whole.

          159.   Class action treatment here is superior to other available methods for the fair and

efficient resolution of this controversy because:

                 (a)    Separate adjudication of claims by individual Class members could lead to

inconsistent results, which would establish incompatible standards of conduct for the Maxam

Defendants;

                 (b)    Separate actions by individual Class members could injure other Class

members’ ability to adequately protect their interests;

                 (c)    The financial burden on individual Class members would make it

impracticable for them to pursue their claims against the Maxam Defendants individually; and

                 (d)    Judicial economy would be served by maintenance of this action as a class

action to avoid numerous individual lawsuits filed by Class members.

          160.   No unusual difficulties are anticipated in the management of this action as a class

action.

                         PLAINTIFF’S DERIVATIVE ALLEGATIONS

          161.   Plaintiff brings this action derivatively in the right and for the benefit of the

Maxam Fund to seek redress for the injuries suffered, and to be suffered, by the Maxam Fund as


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a direct result of the violations alleged herein.      The Maxam Fund is named as a Nominal

Defendant solely in a derivative capacity so that the limited partners of the Maxam Fund can

obtain a recovery if the Maxam Fund recovers on its claims against the Maxam Defendants.

          162.   Plaintiff will adequately and fairly represent the interests of the Maxam Fund and

its limited partners in enforcing and prosecuting its rights.

          163.   Plaintiff is a limited partner of the Maxam Fund and was a limited partner of the

Maxam Fund at all times relevant to the Maxam Defendants’ wrongful course of conduct alleged

herein.

          164.   This is not a collusive action to confer jurisdiction that the Court would otherwise

lack.

          165.   Plaintiff has not made any demand upon Maxam GP, the General Partner of the

Maxam Fund, to bring an action on behalf of the Maxam Fund asserting the claims herein to

recover damages for the injuries suffered by the Maxam Fund, since such demand would have

been a futile, wasteful and useless act, and therefore is excused for the following reasons.

          166.   Demand is excused because the unlawful acts and practices alleged herein cannot

be defended by the Maxam Defendants, who controlled the Maxam Fund and are not subject to

the protection of any independent business judgment. Given the size, scope, and blatancy of the

wrongdoing and the misrepresentations and omissions alleged above, the Maxam Defendants

either knew of the financial risks to the Maxam Fund’s assets or recklessly turned a willful blind

eye to them. Such conduct is not protected by the business judgment rule and exposes the

Maxam GP, as well as Maxam Capital and Manzke, to a substantial threat of liability in this

action. Since the Maxam Fund has been wiped out by the Maxam Defendants investment of

100% of the Fund’s assets in Madoff, it would undoubtedly be to the benefit of the Maxam Fund




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to recover the damages caused by the Maxam Defendants’ wrongdoing and to assert these

derivative claims.

        167.   Demand is further excused because the wrongs alleged herein constitute

violations of the fiduciary duties owed by the Maxam Defendants to the Maxam Fund and its

limited partners, and these acts are incapable of ratification. The Maxam Defendants are subject

to liability for breaching their fiduciary duties to the Maxam Fund and for abrogating their duty

of oversight since, among other things, the Maxam Defendants knew the Maxam Fund’s assets

were entirely invested with Madoff, knew they were not conducting adequate, if any, due

diligence or monitoring of Madoff, and knew or were extremely reckless in not knowing that

Madoff was engaging in fraud or, at a minimum, was reporting results that were impossible to

achieve pursuant to Madoffs split-strike conversion strategy or otherwise.      Yet, the Maxam

Defendants took no steps to prevent or remedy that situation, proximately causing millions of

dollars of losses to the Maxam Fund and its investors.

        168.   As alleged herein, the Maxam Defendants were active wrongdoers, where they

themselves actually committed the wrongdoing.          The Maxam Defendants promised investors

they would conduct due diligence on their broker dealers; the Maxam Defendants knew no one

was actually performing such due diligence on Madoff and the Maxam Defendants chose,

nonetheless, both to continue investing the Maxam Fund’s clients’ money with Madoff and not

disclose to them the lack of due diligence. Therefore, demand is excused because the Maxam

Defendants cannot investigate and prosecute these claims against themselves, since they cannot

objectively consider whether to sue themselves.

        169.   Demand is excused on Maxam GP, as General Partner of the Maxam Fund,

because it suffers from irreconcilable conflicts. This Complaint alleges wrongdoing by Maxam




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GP.   Under the LPA, Maxam GP exercises ultimate authority over the Partnership and is

responsible for the day-to-day operations of the Partnership. Because the Limited Partners have

no authority or right to act on behalf of the Partnership in connection with any matter relating to

the management of the Partnership, Maxam OP was obligated to exercise its fiduciary duties and

act in the Partnership’s best interests. Given Maxam GP’s exposure to liability from the conduct

described herein, including its intentional and bad faith breaches of fiduciary duty, Maxam GP

cannot independently consider whether to bring claims against itself of its own misconduct.

        170.    Demand is also excused because Maxam GP exercises authority over the Maxam

Fund and designated its affiliate Maxam Capital, to act as the investment manager and

administrator of the Fund. Maxam Capital profited at the expense of the Maxam Fund because

Maxam Capital received management, administrative and other fees from the Maxam Fund of up

to $5.8 million. Consequently, Maxam GP would be suing its own affiliate to recover fees it

arranged for the Fund to pay to the affiliate.

        171.   This Complaint also alleges wrongdoing by Maxam Capital (and MCML), and

Manzke. Any action by Maxam OP against these other Maxam Defendants is tantamount to

initiating litigation against itself. Maxam GP has ratified the egregious misconduct of Maxam

Capital and Manzke, and, therefore, cannot be expected to prosecute claims against Maxam

Capital and Manzke, with whom it is inextricably intertwined, if Plaintiff demanded that it do so.

        172.   Demand is excused because Defendant Manzke controlled Maxam GP, Maxam

Capital, and the Maxam Fund, and is an owner of Maxam OP and an owner, Chairman and CEO

of Maxam Capital.

       173.    Defendant Manzke is identified in the LPA as one of the principal decision

makers within Maxam Capital with regard to the Maxam Fund. According to the Form ADV, as




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part of the investment management team at Maxam Capital, Manzke participated in all aspect of

manager research and due diligence. Accordingly, she exercised considerable authority over the

Maxam Fund and profited at the expense of the Maxam Fund, both as an owner of Maxam GP

and Maxam Capital and as an employee of Maxam Capital.

       174.    Demand is also excused because Defendant Manzke was a primary wrongdoer

and therefore faces significant personal liability. Defendant Manzke had a personal relationship

with Madoff, and she was one of the first trusted investment managers to form a fund

specifically to invest with Madoff. In particular, Manzke faces substantial liability because she

decided to invest all of the Maxam Fund’s assets with Madoff without disclosing it in the Maxam

Fund’s PPMs, published PPMs with the material misrepresentations and omissions alleged here,

knowingly and intentionally, and violated her fiduciary duties. Through her personal and long

standing relationship with Madoff, Manzke knew or should have known that there were serious

questions surrounding the legitimacy of Madoffs trading operations and his purported results, or

that Madoffs generated purported results would have been impossible to achieve under his

alleged investment strategy, and yet, Manzke took no steps in a good faith effort to prevent or

remedy that situation, proximately causing million of dollars of losses and the decimation of the

fund she created, the Maxam Fund.

       175.    The acts complained of constitute violations of the fiduciary duties owed by the

Maxam Defendants and these acts are incapable of ratification.

       176.    Maxam GP lacks sufficient independence to make a disinterested decision as

whether to pursue the derivative claims alleged herein against the Maxam Defendants.

       177.    Demand is also excused because the exculpatory provisions in the Maxam Fund’s

PPMs with respect to Maxam GP, as the General Partner, and its “Affiliates” (which include




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Maxam Capital, MCML and Manzke), do not offer protection where, as here, the actions at issue

constitute gross negligence, dishonesty or bad faith.          Moreover, that exculpatory provision

protects Maxam OP and its Affiliates from liability for the wrongdoing of agents retained by

Maxam GP or the Maxam Fund (i.e., Madoff), only where such persons were selected, engaged

or retained with reasonable care   —   which is not the case here.

       178.    Demand is also excused because courts have found demand futility and upheld

various derivative claims in other cases against managers of Madoff feeder funds (like the

Maxam Fund), on grounds that are equally applicable to the Maxam Defendants. For example,

in Hecht v. Andover Assoc. Mgmt. Corp., 006110/09, 2009 New York Slip           op.   50528(U) (N.Y.

Sup. Ct. Apr. 1, 2009), the court refused to dismiss derivative gross negligence and other claims

that are similar to those asserted by Plaintiff here. See also Sacher v. Beacon Assoc. Mgmt.

Corp., 005424/09, 2010 New York Slip Op 50826(U) (N.Y. Sup. Ct. Apr. 26, 2010) (refusing to

dismiss derivative gross negligence and negligence claims). In addition, in Anwar v. Fairfield

Greenwich Ltd., No. 09 Civ. 118 (VM), 2010 U.S. Dist. LEXIS 86716 (S.D.N.Y. Aug. 18,

2010), the court upheld direct claims against the managers of funds, who are in similar positions

as the Maxam Defendants, and knowingly invested fund assets with Madoff.

        179.   The Maxam Fund has been directly and substantially injured by reason of the

Maxam Defendants’ intentional breach and/or reckless disregard of their fiduciary duties to the

Maxam Fund.      Plaintiff, as a limited partner and representative of the Maxam Fund, seeks

damages and other relief for the Maxam Fund, in an amount to be proven at trial.




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                                       CLAIMS ALLEGED

                                            COUNT I
                      Violation of Section 10(b) of the Exchange Act and
                    Rule lOb-5 of the Securities and Exchange Commission
                               (Against the Maxam Defendants)

        180.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

        181.   This Count is asserted against all the Maxam Defendants and is based upon

Section 10(b) of the Exchange Act, 15 U.S.C.     § 78j(b), and Rule lOb-5 promulgated thereunder.
        182.   During the Class Period, the Maxam Defendants directly engaged in a common

plan, scheme, and unlawful course of conduct, pursuant to which they knowingly or recklessly

engaged in acts, practices, and courses of business which operated as a fraud and deceit upon

Plaintiff and the other members of the Class, and made various deceptive and untrue statements

of material fact and omitted to state material facts in order to make the statements made, in light

of the circumstances under which they were made, not misleading to Plaintiff and the other

members of the Class. The purpose and effect of the scheme, plan, and unlawful course of

conduct was, among other things, to induce Plaintiff and the other members of the Class to

purchase limited partnership interests in the Maxam Fund.

        183.    During the Class Period, the Maxam Defendants, pursuant to said scheme, plan,

and unlawful course of conduct, knowingly and recklessly issued, caused to be issued,

participated in the issuance of, and the preparation of deceptive and materially false and

misleading statements to Plaintiff and the other Class members as particularized above.

        184.    In ignorance of the false and misleading nature of the statements described above

and the deceptive and manipulative devices and contrivances employed by the Maxam
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Defendants, Plaintiff and the other members of the Class relied, to their detriment, on such

misleading statements and omissions in purchasing limited partnerships in the Maxam Fund.

        185.   By reason of the foregoing, the Maxam Defendants directly violated Section 10(b)

of the Exchange Act and Rule 1 Ob-5 promulgated thereunder in that they: (a) employed devices,

schemes, and artifices to defraud; (b) made untrue statements of material facts or omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; or (c) engaged in acts, practices, and a course of

business which operated as a fraud and deceit upon Plaintiff and the other members of the Class

in connection with their acquisitions of limited partnership interests in the Maxam Fund.

        186.   As a direct and proximate result of the Maxam Defendants’ wrongful conduct,

Plaintiff and other members of the Class suffered substantial damages in connection with their

purchases of limited partnership interests in the Maxam Fund in an amount to be proven at trial.

                                         COUNT II
                         Violation of Section 20(a) of the Exchange Act
                       (Against Defendants Maxam Capital and Manzke)

        187.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

        188.   Defendants Maxam Capital and Manzke acted as controlling persons of the

Maxam Fund within the meaning of Section 20(a) of the Exchange Act as alleged herein. By

virtue of their ownership, high level positions, participation in andlor awareness of the day-to

day operations, andlor intimate knowledge of the Maxam Fund’s products, sales, accounting,

selection of investment advisors and managers, plans and implementation thereof, they had the

power to influence and control and did influence and control, directly or indirectly, the decision

making of the Maxam Fund, including the content and dissemination of the various statements




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that Plaintiff contends are false and misleading. Defendants Maxam Capital and Manzke had the

ability to prevent the issuance of these statements or cause these statements to be corrected.

        189.   Defendants Maxam Capital and Manzke also had direct and supervisory

involvement in the day-to-day operations of the Maxam Fund and, therefore, are presumed to

have had the power to control or influence the particular statements giving rise to the securities

violations alleged herein, and exercised the same.

        190.   By virtue of their positions as controlling persons, Defendants Maxam Capital and

Manzke are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of their wrongful conduct, Plaintiff and the other members of the Class suffered damages

in connection with their acquisitions of limited partnership interests in the Maxam Fund in an

amount to be proven at trial.

                                          COUNT III
                                     Common Law Fraud
                                (Against the Maxam Defendants)

        191.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

        192.   Plaintiff and other members of the Class, in reasonable and justifiable reliance

upon the statements, misrepresentations and omissions made by the Maxam Defendants, as

previously set forth herein, purchased limited partnership interests in the Maxam Fund.

        193.   Plaintiff and other members of the Class would not have purchased their limited

partnership interests in the Maxam Fund except for their reliance upon the representations made

by the Maxam Defendants, and would not have purchased them had they been aware of the

material omissions and concealment by the Maxam Defendants that 100% of the Maxam Fund’s




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assets were placed with Madoff, that the Maxam Defendants conducted inadequate, if any, due

diligence, and failed to truly monitor the Maxam Fund’s investments and Madoff.

        194.    At the time of these statements, misrepresentations and omissions, the Maxam

Defendants knew or should have known them to be false and intended to deceive Plaintiff and

other members of the Class by making such statements, misrepresentations, and omissions in the

Maxam Fund’s PPMs and other offering documents.

        195.    At the time of the false statements, misrepresentations and omissions set forth

above, each of the Maxam Defendants intended that Plaintiff and other members of the Class

would act on the basis of the statements, misrepresentations and omissions contained in the

Maxam Fund’s PPMs and other documents provided to limited partners in determining whether

to purchase limited partnership interests in the Maxam Fund. Plaintiff and other Class members

reasonably relied thereon to their detriment in making such decisions.

        196.    Had Plaintiff and other members of the Class known of the material facts that the

Maxam Defendants wrongfully concealed and misrepresented, and the falsity of the Maxam

Defendants’ representations, Plaintiff and other Class members would not have purchased their

limited partnership interests in the Maxam Fund.

        197.    Plaintiff and other members of the Class, as a result of their purchases of limited

partnership interests in the Maxam Fund and by reason of the Maxam Defendants’ material

misrepresentations and omissions, have sustained damages, suffered mental and emotional

distress and have lost a substantial part of their investments in an amount yet to be determined,

and to be proven at trial.

        198.    By reason of the foregoing, the Maxam Defendants are jointly and severally liable

to Plaintiff and other Class members.




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                                          COUNT IV
                                  Negligent Misrepresentation
                                (Against the Maxam Defendants)

        199.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

       200.    The Maxam Defendants owed to Plaintiff and other Class members a duty: (a) to

act with reasonable care in preparing and disseminating the Maxam Fund’s PPMs and other

documents, including monthly account statements, which were relied upon by Plaintiff and other

Class members in deciding to purchase and/or retain their limited partnership interests in the

Maxam Fund; and (b) to use reasonable diligence in determining the accuracy of and preparing

the information contained in the Maxam Fund PPMs, monthly statements, and other materials.

       201.    The Maxam Defendants breached their duties to Plaintiff and other Class

members by failing to investigate, confirm, prepare and review with reasonable care, the

information contained in the Maxam Fund’s PPMs, as well as in the monthly Investor

Statements.

       202.    Neither the Maxam PPMs nor any other offering material used in soliciting

investments in the Maxam Fund, monthly Investor Statements, or other materials provided to the

limited partners ever disclosed that all of Maxam’s assets were ultimately invested with Madoff.

       203.    Moreover, the Maxam PPMs contained the misrepresentation that the Maxam

Fund’s assets would be diversified such that at all times, no more than 20% of the value of the

Maxam Fund’s total assets would be invested in the securities of any one issuer. But, as set forth

above, the Maxam Defendants simply handed over 100% of Maxam’s assets to Madoff, and,

because they failed to conduct little, if any, due diligence or oversight of Madoff, they had no

way of knowing whether Madoff was complying with this 20% diversification obligation.




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       204.    As a direct, foreseeable and proximate result of this negligence, Plaintiff and the

other members of the Class relied, to their detriment, on such misrepresentations, and have

sustained damages, suffered mental and emotional distress and lost a substantial part of their

respective investments in an amount yet to be determined, and to be proven at trial.

       205.    Plaintiff and the other members of the Class relied, to their detriment, on such

misleading statements and omissions in purchasing limited partnerships interests in the Maxam

Fund. Plaintiff and the other members of the Class have suffered substantial damages as a result

of the wrongs alleged herein in an amount to be proven at trial.

       206.    By reason of the foregoing, the Maxam Defendants are jointly and severally liable

to Plaintiff and other Class members.

                                          COUNT V
                                   Breach of Fiduciary Duty
                                (Against the Maxam Defendants)

       207.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

       208.    The Maxam Defendants owed and owe Plaintiff and the Class fiduciary

obligations. By reason of their fiduciary relationships, the Maxam Defendants owed and owe

Plaintiff and the Class the highest obligation of good faith, fair dealing, loyalty and due care.

       209.    As a result of the Maxam Defendants’ abrogation of their duties in the

management and protection of the assets of the Maxam Fund for the benefit of its limited

partners, as well as participation, exploitation and perpetration of the wrongdoing, as alleged

herein, the Maxam Defendants violated and breached their fiduciary duties of care, loyalty,

reasonable inquiry, oversight, good faith, and supervision owed to Plaintiff and the Class. They




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acted in bad faith, with gross negligence and with complete disregard of their obligation to use

due care, and employ reasonable and prudent investment standards.

        210.       As a proximate result of the Maxam Defendants’ bad faith breaches of their

fiduciary duties, Plaintiff and the other Class members have sustained damages, and have lost a

substantial part of their respective investments in an amount yet to be determined, and to be

proven at trial.

        211.       By reason of the foregoing, the Maxam Defendants are liable to Plaintiff and

other members of the Class.

                                           COUNT VI
                               Gross Negligence and Mismanagement
                                 (Against the Maxam Defendants)

        212.       Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

        213.       As the General Partner of the Maxam Fund, and investment manager and

administrator of the Maxam Fund, with absolute control over its assets, the Maxam Defendants

had a special relationship with Plaintiff and the members of the Class that gave rise to a duty to

exercise due care in the management of the assets invested in the Maxam Fund, and in the

selection and monitoring of third-party managers, such as Madoff.

        214.       The Maxam Defendants knew or should have known that the Maxam Fund’s

limited partners were relying on them to manage the investments entrusted to them with

reasonable care and that investors reasonably and foreseeably relied on them to exercise such

care by entrusting assets to them.

        215.       The Maxam Defendants owed fiduciary duties to Plaintiff and the Class to

conduct, manage and supervise the Maxam Fund’s investments in good faith and with due care




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an in accordance with the stated investment strategies.          As set forth above, the Maxam

Defendants breached their fiduciary duties to the Maxam Fund by acting in bad faith and failing

to exercise due care in the performance of their duties.

        216.    The Maxam Defendants should have prevented, through the exercise of

reasonable diligence, the improper investing of all of the Maxam Fund’s assets solely with

Madoff.

        217.    The Maxam Defendants authorized, approved, participated in, failed to disclose,

and improperly concealed the improper conduct described herein.

        218.    Plaintiff and the Class relied to their detriment on the Maxam Defendants to

discharge their duties, as the General Partner, the investment manager and administrator of the

Maxam Fund, and head of the Maxam Fund’s Investment Committee, in a careful and prudent

manner.

        219.   As a direct and proximate result of the gross negligence and misconduct of the

Maxam Defendants, Plaintiff and the Class have been harmed. The Maxam Defendants are

liable to Plaintiff and the Class in an amount yet to be determined, and to be proven at trial.

                                          COUNT VII
                                       Unjust Enrichment
                                (Against The Maxam Defendants)

       220.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

       221.    As a result of the misconduct alleged herein, the assets of the Maxam Fund have

been wiped out, and consequently, Plaintiffs and the other Class members’ investments have

been decimated.




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       222.    The Maxam Defendants were unjustly enriched at the expense of Plaintiffs and

other members of the Class through the payment of management fees, administrative fees, and

other remuneration. Management and administrative fees were paid for services that were not

provided and were based on the false NAVs and investment returns of the Maxam Fund.

       223.    The performance of the Maxam Defendants was so far below the fiduciary,

business and professional standards that Plaintiffs and the Class involuntarily conferred a benefit

upon these Defendants without receiving adequate benefit or compensation in return.          These

Defendants have been unjustly enriched.

       224.    Equity and good conscience require that the Maxam Defendants disgorge to

Plaintiff and the Class all management fees, administrative fees and other remuneration in an

amount to be proven at trial.



                                         COUNT VIII
                         Derivative Claim for Breach of Fiduciary Duty
                               (Against the Maxam Defendants)

       225.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

       226.    The Maxam Defendants owed and owe the Maxam Fund fiduciary obligations.

By reason of their fiduciary relationships, the Maxam Defendants owed and owe the Maxam

Fund the highest obligation of good faith, fair dealing, loyalty and due care.

        227.   As a result of the Maxam Defendants’ abrogation of their duties in the

management of Maxam’s assets, as alleged herein, the Maxam Defendants violated and breached

their fiduciary duties of care, loyalty, reasonable inquiry, oversight, good faith, and supervision

owed to the Maxam Fund. They acted in bad faith, with gross negligence and with complete




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disregard of their obligation to use due care, and employ reasonable and prudent investment

standards.

       228.    As a proximate result of the Maxam Defendants’ bad faith breaches of their

fiduciary duties, the Maxam Fund has sustained damages and has lost its value.

       229.    By reason of the foregoing, the Maxam Defendants are liable to the Maxam Fund

in an amount yet to be determined, and to be proven at trial.

                                        COUNT IX
                 Derivative Claim for Gross Negligence and Mismanagement
                              (Against the Maxam Defendants)

       230.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

        231.   The Maxam Defendants owed fiduciary duties to the Maxam Fund to conduct,

manage and supervise the Fund’s investments in good faith and with due care an in accordance

with the stated investment strategies. As set forth above, the Maxam Defendants breached their

fiduciary duties to the Maxam Fund by acting in bad faith and failing to exercise due care in the

performance of their duties.

        232.    The Maxam Defendants should have prevented, through the exercise of

reasonable diligence, the improper investing of all of the Maxam Fund’s assets solely with

Madoff.

        233.    The Maxam Defendants authorized, approved, participated in, failed to disclose,

and improperly concealed the improper conduct described herein.

        234.    The Maxam Fund relied to its detriment on the Maxam Defendants to discharge

their duties, as the General Partner, the investment manager and administrator of the Maxam

Fund, and head of the Maxam Fund’s Investment Committee, in a careful and prudent manner.




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       235.    As a direct and proximate result of result of the gross negligence and misconduct

of the Maxam Defendants, the Maxarn Fund has been harmed. The Maxam Defendants are

liable to the Fund in an amount yet to be determined, and to be proven at trial.



                                         COUNT X
                            Derivative Claim for Unjust Enrichment
                               (Against the Maxam Defendants)

       236.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

       237.     As a result of the misconduct alleged herein, the assets of the Maxam Fund have

been wiped out. The Maxam Defendants were unjustly enriched at the expense of the Maxam

Fund through the payment of management fees, administrative fees, and other remuneration.

Management and administrative fees were paid for services that were not provided and were

based on the false NAVs and investment returns of the Maxam Fund.

        238.    The performance of the Maxam Defendants was so far below the fiduciary,

business and professional standards that the Maxam Fund involuntarily conferred a benefit upon

these Defendants without receiving adequate benefit or compensation in return.            These

Defendants have been unjustly enriched.

        239.    Equity and good conscience require that the Maxam Defendants disgorge to the

Maxam Fund all management fees, administrative fees and other remuneration in an amount to

be proven at trial.

                                     PRAYER FOR RELIEF

    WHEREFORE, Plaintiff prays for relief and judgment, as follows:




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       A.      Declaring this action to be a proper class action and certifying Plaintiff as the

Class Representative under Rule 23 of the Federal Rules of Civil Procedure, and appointing

Plaintiff’s counsel as Class Counsel;

       B.      Awarding compensatory damages in favor of Plaintiff and the other Class

members against the Maxam Defendants, jointly and severally, for all losses and damages

sustained as a result of the wrongdoing alleged herein, together with pre-judgment and post-

judgment interest thereon;

       C.      Awarding compensatory damages in favor of the Maxam Fund against the

Maxam Defendants, jointly and severally, for all losses and damages sustained as a result of the

Maxam Defendants’ wrongdoing alleged herein, together with pre-judgment and post-judgment

interest thereon;

        D.      Awarding punitive damages in favor of Plaintiff and the other Class members for

the Maxam Defendants’ willful and wanton acts, together with pre-judgment and post-judgment

interest thereon;

        E.      Imposing a constructive trust upon the proceeds of the Maxam Fund’s SIPA

Claim and any funds remaining in the Maxam Fund;

        F.      Granting equitable injunctive relief enjoining or otherwise restricting the proceeds

of the Maxam Fund’s SIPA Claim and any assets of the Maxam Fund from being used to pay for

any portion of the Fairfield Settlement, to indemnify the Maxam Defendants for their liabilities

under the Settlement Agreement with the Town of Fairfield, or to cover their attorneys’ fees,

costs or other expenses of litigations, and from collecting accrued fees or other remuneration

from the Maxam Fund, so as to assure Plaintiff and the Class have an effective remedy;




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       0.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       H.      Granting such other and further relief as the Court may deem just and proper.




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                                   JURY TRIAL DEMANDED

           Pursuant to Federal Rule of Civil Procedure 3 8(a), Plaintiff hereby demands a trial by

jury of all issues so triable.

Dated: June 17, 2013



                                               WOLF KALDENSTEIN ADLER
                                               FREEMA   HERZ LLP

                                               By:




                                                         mel W Kraer (DK 6381)
                                                      Demet Basar (DB-6821)
                                                      Maja Lukic
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                                   PLAINTIFF’S CERTIFICATION

            William Manno (“Plaintiff’) declares under penalty of perjury, as to the claims asserted       under

the federal securities laws, that:

            1.                1 have reviewed the Amended Class Action and Derivative Complaint (the

    “Complaint”) and authorized the commencement of an action on Plaintiff’s behalf and on behalf of

    the class specified in the Complaint.

            2.                I did not purchase the security that is the subject of this action at the

    direction of Plaintiffs counsel or in order to participate in this private action.

            3.                I am willing to serve as a representative party on behalf of the class

    including providing testimony at deposition and trial, if necessary.

            4.                My purchases in Maxam Absolute Return Fund, LP., during the class

    period specified in the Complaint are as follows:

                                  Date                           Purchase
                              May 25, 2007                       $200,000
                             February 6,2008                     $200,000
                             August 29,2008                       $75,000

            5.                During the past three years, I have not served as a representative party for a

    class in an action filed under the federal securities laws, nor have I made an application to serve in that

    capacity.

            6.                I will not accept any payment for serving as a representative party on behalf of

    the class beyond my pro rata share of any recovery, except such reasonable costs and expenses

    (including lost wages) directly relating to the representation of the class as may be ordered by the court.

            7.                I declare under penalty of perjury that the foregoing is true and correct.

    Executed this       day of June, 2013.


                                                    William Manno
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                                      VERIFICATION

       I, William Manno, hereby verify that I am a limited partner of Maxam Absolute Return

Fund, L.P., that I am familiar with the allegations in the Amended Class Action and Derivative

Complaint (the “Complaint”), and that I have authorized the filing of the Complaint. Based upon

the investigation of my counsel, the allegations in the Complaint are true to the best of my

knowledge, information and belief. I declare under the penalty of peijury that the foregoing is

true and correct.

Dated: June LL. 2013


                                                   William Manno
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                            CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2013, I caused the foregoing Amended Class
Action and Derivative Complaint to be served upon the parties below, by securely
depositing a true and correct copy thereof in a postpaid wrapper in a depository regularly
maintained and exclusively controlled by the United States Government in the Borough
of Manhattan. City, County, and State of New York:


                              Carrie A. Tendler
                              Jonathan D. Cogan
                              Michael Sangyun Kim
                              Kobre & Kim LLP
                              800 Third Avenue, 6th Floor
                              New York, NY 10022

                              Attorneys for Defendants




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